 Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.163 Page 1 of 96



1    ALBERT K. LAI, D.C. Bar #1007316
     U.S. Department of Justice
2
     Civil Division, Torts Branch
3    Environmental Torts Section
     P.O. Box 340, Ben Franklin Station
4
     Washington, D.C. 20044
5    Email: Albert.Lai@usdoj.gov
     Telephone: (202) 616-4223
6
     Attorney for Defendant United States
7
8
9                               UNITED STATES DISTRICT COURT
10                            SOUTHERN DISTRICT OF CALIFORNIA
11
12   CLIENT SOLUTIONS ARCHITECTS,                          Case No.: 3:19-cv-00123-MMAMSB
     LLC; and THE HARTFORD,
13
                                          Plaintiff,       NOTICE OF LODGMENT IN
14                                                         SUPPORT OF UNITED STATES’
     v.                                                    MOTION FOR SUMMARY
15
                                                           JUDGMENT
     UNITED STATES OF AMERICA,
16
                                        Defendant.
17
18
19            Please take notice that the United States submits the following exhibits in support
20   of its Motion for Summary Judgment:
21   Exhibit Description                                                  Pages
22        1       Infectious Disease Consultant Note for Michelle         USA1-3
23                Gibson dated October 20, 2016
24        2       Email from Michelle Gibson to Brenda Johnson,           USA4-8
25                John Landry, Aaron Robbins, and Tim Synder re:
26                “Hartford Workman’s Comp Case – Michelle
27
28

                                                       1
                                                                               3:19-cv-00123-MMAMSB
 Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.164 Page 2 of 96



1    Exhibit Description                                           Pages
2            Gibson – Y19C26296” dated December 2, 2016 at
3            5:18 PM
4      3     Letter from Michelle Gibson to Dr. Stewart Lonky      USA9-13
5            re: “CLAIM CASE: Y67C39822// Documentation
6            enclosed provided for 22 June QME; a copy of the
7            Workman’s Comp Questionnaire” dated June 9,
8            2017.
9      4     Indoor Environmental Quality Questionnaire for        USA14-19
10           SPAWAR, Office of the Chief Engineer, completed
11           by Michelle Gibson dated April 22, 2016.
12     5     Memorandum titled “Indoor Air Quality Results”        USA20-22
13           prepared by Dr. Jeffrey Duffy with a Date of Survey
14           of November 16, 2015.
15     6     Spreadsheet containing columns of potential           USA23-24
16           symptoms and a segment of notes titled, “Michelle’s
17           Daily Log response to Office Conditions” dated
18           February 1 to 3, 2016.
19     7     Report by Dr. Stewart Lonky titled “Panel Qualified USA25-67
20           Medical Evaluation in Internal Medicine and
21           Pulmonary Medicine Medical-Legal Report” dated
22           August 24, 2017.
23     8     Excerpt of a temporary (.TMP) file containing         USA68-70
24           segments of email communications. The excerpted
25           portion of the file reflects an email chain between
26           Michelle Gibson and Vernon Chestang, re:
27           “Welcome Back,” dated February 16, 2016.
28

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                                                                       3:19-cv-00123-MMAMSB
 Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.165 Page 3 of 96



1    Exhibit Description                                           Pages
2      9     Report titled “Indoor Air Quality Mold Survey”        USA71-92
3            dated March 15-16, 2016, for SPAWAR prepared
4            by Occupational Services, Inc.
5      10    A map of the SPAWAR Office of the Chief               USA93-94
6            Engineer, or Office 5.0, in which Michelle Gibson
7            worked dated 2017.
8      11    Email from Michelle Gibson to Greg Shaffer, re:       USA95-97
9            “Verbatim Voice Mail left for Michelle Gibson
10           from Pulmonary Specialist, Dr. Lichter,” dated June
11           2, 2019.
12     12    Transcript of a voicemail message left for Michelle   USA98-99
13           Gibson by Dr. Julian Lichter dated April 19, 2016
14           attached to Exhibit 11.
15     13    Workman’s compensation form completed in              USA100-116
16           handwriting by Michelle Gibson dated April 9,
17           2017.
18     14    Standard Form 95 administrative tort claims           USA117-123
19           submitted on March 9, 2018, on behalf of Client
20           Solutions Architects, LLC, and The Hartford.
21     15    Draft Client Solution Architects Associate            USA124-141
22           Performance Evaluation for Michelle Gibson for the
23           period October 1, 2015 to September 30, 2016.
24
25
26
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                                                                       3:19-cv-00123-MMAMSB
 Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.166 Page 4 of 96



1    Dated: January 15, 2020               Respectfully submitted,
2
                                           /s/ Albert K. Lai
3                                          ALBERT K. LAI, D.C. Bar #1007316
                                           Trial Attorney
4
                                           Civil Division, Torts Branch
5                                          Environmental Torts Section
                                           U.S. Department of Justice
6
                                           Attorney for Defendant
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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.167 Page 5 of 96




                             EXHIBIT 1




                                                                         USA1
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.168 Page 6 of 96




                                                                        USA2
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.169 Page 7 of 96




                                                                        USA3
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.170 Page 8 of 96




                             EXHIBIT 2




                                                                         USA4
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.171 Page 9 of 96




                                                                        USA5
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.172 Page 10 of 96




                                                                         USA6
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.173 Page 11 of 96




                                                                         USA7
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.174 Page 12 of 96




                                                                         USA8
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.175 Page 13 of 96




                              EXHIBIT 3




                                                                         USA9
                                               Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.176 Page 14 of 96



                       Michelle Gibson
                       8330 Blue Lake Dr.
                       San Diego, CA 92119
                                                                                                                                                  9 June, 2017
                                                                                                                        V/orkman comp Claitn Case: Y67C39822

                       Dr. Stewart Lonky, MD
                       Internal Medicine; Internal Medicine - Pulrnonary Disease
                       Qualified Medical Exa111iner

                       RE: CLAitvf CASE: Y67C39822// Documentation enclosed provided for 22 June QME; a copy                                                             l!
                                                                                                                                                                         :!
                       of the Worlanan~s Comp Questionnaire.                                                                                                             1!

                                                                                                                                                                         i
                                                                                                                                                                         l

                       Sir,
                                                                                                                                                                         '

                       In response to your letter of 31 March, 2017~ I was recently infornied the doc1unentation I
                       provided for 111y claiin to Harford, would not be sent to you fron1 n1y I-Iartford Workman's Con1p
                       Case Manager, Patricia Fernandez. It took some time to have a duplicate set made, as the
                       inforn1ation is extensive. Enclosed you will find 498+ pages of docu1nentation of my work
                       environrnent fron1 August 2013 to present and documentation about the can1pus and buildings
                       from 2012; and the reason I have three A.spergi1las (Utes; Virsicolor, and Terras) tv1olds grovving
                       in n1y lungs and the bacteria, Narcodia; all of which can be fatal.

                       I began \Vorking in SPA WAR 5.0 on 29 April, 2013. The first thne \Ve ,ve.re n1oved fron1 our
                       office spaces due to environmental exposure and hazards was August of 2013. We have been
                       moved several titnes since then, about 15, and just recently moved back into our spaces in l'vfarch
                       of this year. The environmental exposures; chen1icals and Organic Vapor Pathogens are but not
                       limited to~ TCE; Aldehyde; Fiberglass; Mold; High levels of CO2; Carbon Dioxide; Acrolein (a
                       clear gel substance derived from. Aldehyde); K.crosene Vapors (9600 gals found underneath our
                       office); Bird Feccs~(Pigeons, Seagulls, Hawks); Rat and Mouse droppings; Out-gassing of new
                       furniture_; dry,vall; Drift\vood ... Each ti1ne ,ve moved back in, we were told it work environn1ent
                       ,u1d conditions were safe.

                      My battle begun in February of2016 after becoming sick in October of 2015, \Vhere I just could
                      not get better, no matter what antibiotic or Z-pack they put rne on. After several upper
                      respiratory infections, by February, n1y doctor dctern1incd, I should have a CT scan to see what
                      was going on with my lungs. As it turned out, I had several; hundred small puln1onary nodules
                      that looked like snow in my lungs. My Puhnonary Specialist, Dr. Lichter's first response was to
                      111ove 111e out of the spaces. That 1¥as a request I never had to make, because we were already
                      retnoved, again for 1nold, fiberglass, J(erosene and the discovery of a design flaw in our offices
                      that the airflow condenser was too sn1all for an office our size. We were rnovecl a significant
                      distance away fron1 otu- spaces, but in the satne building. I was given t\:vo inhalers Qvair and
                                                                                                          1

                       Copy to: Patricia Fernandez. Hartford Workman's Comp Case Manager
                       w·orkman comp Claim Case: Y67C39822


                                                                                                                                                                 USA10


PCN: 8171861001176 OCN: 8171861001176001 OT Received: 7/5/2017 9:00:00 AM OT Scanned: 7/5/2017 9:43:26 AM Page 5 of 9
                                               Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.177 Page 15 of 96



                        Michelle Gibson
                        8330 Blue Lake Dr.
                        San Diego, CA 92119
                                                                                                                                                  9 June, 2017
                                                                                                                                                    -   ..   •.   .   -   .   ,   -

                                                                                                                        Work111an co111p Claim Case: Y67C39822

                       Flovent and told to try to increase n1y activity. I just did not have it; and 4 1nonths later, they did
                                                                                                                                                                                              Il
                       my second CT scan that showed 1ninimal, but significant gtowth - not good. After a long
                       discussion of next steps~ it was decided a biopsy was necessary. On 2 Sept, 2016} I had n1y                                                                            Ii
                       biopsy. There \Vas so1ne concern and the slight possibility 111y lung issue could be MAC, hµ.t my                                                                      !!
                       Dr. felt pretty strong, due to all of the environm.ental issues I have face, and based off of all the
                       the testing he had given n1c to 1ulc out Mold, all came back negative with the exception of when
                       he tested 111y antibodies for a hypersensitivity to n1old. It ,:vas and is the only test, other than my
                       biopsy that came back positive. The first cultures of the n1y biopsy crune back and proved to be
                       vvhat n1y doctor expected, and what I most feared, mold ... as mentioned above, not just any n1old,
                       deadly 1nold and three of them, one being extremely rare and the extre1nely rare bacteria
                       Narcodia.

                       Overnight it seemed, the won1an I was, \¥ho hit the gyrn every day, hiked Cowels Mountain; Ran
                       Lake Murray; ran 5 -Ks every 1nonth; Kickboxing every Saturday, Mudd Runs, and training for
                       a Spartan Race; I had nothing left I lost all n1uscle mass and whatever body weight was left of
                       me; I lost that too. My healthy weight, of muscle is 125-130 depending on where I an1 in 1ny
                       fitness training. As I was losing pieces of Michelle, I surpassed the 120 lbs that I vvas told I
                       could not drop past. 1\t 111 lbs, and arn sad to say, I have an up-close and personal view of
                       what I look like dead. En1aciation is not pretty and scary. I was disappearing and fatigue
                       swallowed 1ne ,vhole taking the happy, healthy life I \ivas living away. The sin1plest of tasks I
                       could not do. I could not shower or wash my own hair; I did not have the physical strength to
                       stand in the shower. Stairs became n1y \vorst enerny. R._outine honey-do chores could not be
                       done by 1ne, so 1ny :tvfon1 and 1ny Boyfl"iend, tried to do it all, while tending to m_e. All the
                       siinple little things we all take for granted and do every day, I could not do, and no n1atter ho,¥ I
                       tried;, the storn1 that I had become, becan1e a Category 7 Hurricane of loss.

                       My greatest loss is the energy and strength I had to keep up with my boys. My Grandsons are
                       everything to m.e, Logan who is now 7 and Liam, 5~ beautiful, intelligent, and quick on their feet,
                       100% boy with two switches on and ~ride open. Both are on 1he Spectr1un and it takes strength
                       and energy to redirect or keep up with then1. It was one of the biggest reasons I trained so hard.
                       Every other vifeekcnd they were at YaYa's and Poppa's house and we would go on adventures;
                       the beach, parks, swin1ming~ shopping, the nulll; Viejas Water Fountain, Sea Port v·illage;
                       Balboa Park; Beln1ont Park; Julian, \Ve did it all; to expose thetn to changes, and environments
                       that would cause sensory overload, and help them Ieatn to let go, and control their fears, and
                       anxiety. Overnight, I lost the most important titne and memories of n1y life. They do not
                       understand why I can no longer pick them up; having no strength and a Gro-Shung Catheter in
                                                                                                          2


                       Copy to: Patricia Fernandez, Hartford Workman>s Comp Case Manager
                       Workman comp Claim Case: Y67C39822


                                                                                                                                                                                      USA11


PCN: 8171861001176 OCN: 8171861001176001 OT Received: 7/5/2017 9:00:00 AM OT Scanned: 7/5/2017 9:43:26 AM Page 6 of 9
                                               Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.178 Page 16 of 96



                        Michelle Gibson
                        8330 Blue Lake Dr.
                        San Diego, CA 92119
                                                                                                                                                   9 June, 2017
                                                                                                                        Workn.1.an con1p Clain1 Case: Y67.C39822

                        rny chest prevents that. They do not understand why weeks or n1onths have gone by vvithout
                        them seeing me or con1ing hom.e. When they do con1c home, it is different. I am different and
                        each tin1e, what is left of n1y heart, shatters.

                       This last year has been the hardest; and as this storm ragged against my body/ it took its toll on
                       everything I was and now a111. I understand that I will never truly be ,:vho I was before this
                       happened. I understand my imtnune systen1 will forever be weakened and I vvill have to take
                       extra precautions to stay healthy, and I an1 working hard on learning to live with that. I have had
                        to make the hard decisions and get n1y affairs in order; provide a letter of intent for 111y family,
                       and talk to n1y children about the possibility of this taking n1y life. It is never a conversation a
                       once vibrant, healthy Mom ever wants to have with their children, but I did. I work hard to stay
                       positive because I k.110\v those who love 111e, are watching everything I do, with the hope of not
                       adding rnore ,vo1Ty or fear, I have stayed the course and su1rounded myself in light. It breaks my
                       heart to sec the wo1Ty etched into n1y M.01n's face, and at 73, she is running circles around me
                       and has been taking care of 1ne, when I should be the one, taking care of her. On my bad days, I
                       fight and focus on all the blessing I have. I do have many. I have an incredible suppo1t group.
                       My family and closest friends have rallied around me. My Company, CSA, and the team I
                       support at SPAW,AR 5. 0 have been the knot at the end of my rope. Each one doing all they
                       could/can to assist and help in my recovery. I drag 1ny IV gear and 1neds, with me to vvork, sol
                       run not stressed about missing days, or tin1e or letting down my team. It is because of all of .
                       then1, I do 1ny best to keep things in perspective, because even though I an1 ta.cing what seen1s an
                       insurmountable mountain, I know· there are others who are ,valking a valley way deeper than
                          .
                       1n1ne.

                       I have good days, and not so good days, and as nn1ch as I try, the stonn that I have become,
                       rages. Several antifungal meds and the side efiects; what they do to your body to save you, are
                       a,:vful, "S01nethnes the cure is \Vorse than the cause." Needing the strongest .medicine                                                            I
                                                                                                                                                                           I
                                                                                                                                                                           l
                       (Verconesole), that has the best 1nortality rate, to be able to fight this sto1~ and save n1y life)                                                 l

                      .was destroying my liver and it too assaulted and destroyed my body. The decision was 1nade to                                                       I
                                                                                                                                                                           t
                       place tne on a less toxic dose, of IV meds(Microfungin), only to find, it \Vas not strong enough so                                                 '!
                       instead of doing an IV infusion once in the morning, for 1.5 hours. I now do the1n in the evening
                       as well 1.5 hours. I also take a Sulfate antibiotic for the bacteria, Narcodia three times a day.
                       Each infusion, and sulfate dose, is ,:vit.hout rnissing a day, and was told I am looking at 6-9
                       1nonths of IV treatn1ent. I ,vas also told if the sulfate n1edicine does not impact the bacteria, I
                       ·will have to have IV n1eds for that as well. The difference vvith that medicine, it is too toxic to
                       do at hon1e on 1ny own, and if that happens, I ,vi11 be admitted to the hospital for treatment.
                                                                                                          3

                       Copy to: Patricia Fernandez, Hartford Workman's Comp Case .Manager
                       \1/orkman comp Claim Case:Y67C39822


                                                                                                                                                                   USA12


PCN: 8171861001176 OCN: 8171861001176001 OT Received: 7/5/2017 9:00:00 AM OT Scanned: 7/5/2017 9:43:26 AM Page 7 of 9
                                               Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.179 Page 17 of 96



                        M ichel!e Gibson
                        8330 Blue Lake Dr.
                        San Diego, CA 92119
                                                                                                                                                    9 June, 2017
                                                                                                                        . Worlonan co1np Clain1 Case: Y67C3.9822

                       Son1ething I do not want to have happen. I have in-hon1e nurse who con1es to my house every
                       Monday to clean my bandages, take n1.y vitals; my levels/blood \Vork and check my 1nental status
                       and physical strength. I have had so1ne progress, only to get Ia1ocked back. As of today, I have
                       put on 8 lbs ,¥hich is awesorne. I still cannot do as l used to; but I do keep trying. I keep trying
                       to regain so1ne of 1ne that I have lost, and the life that I loved.

                       This is just a brief overview of why I am coming to see you. 'fhere is n1uch info1matio11 to share,
                       and many holes that need to be filled. 'fhe infi1nnation I have provided you is not just "emotion"
                       it is the facts of n1y life and what I know to be true. You will find Sir, I an1 very well a\vare that
                       my word is the only valuable possession I o,vn. It is the only thing that cannot be taken, or lost.
                       It is s01nething I have to give, and something that 1 stand on. I know firsthand you can lose
                       everything else, your I-Ion1e, Career, Money, Monetary things ... all of'\vhich 111ean nothjng, if
                       you lose your health. If you have your health, you have it all and everything else is small in
                       co1nparison. My word is all I have. I stand by it; on it; ,vithout malice; and with un,vavering
                       conviction.

                       I look fo1ward to 1neeti11g you 22 June and ans\vering the questions you n1ay have.




                                                                                                          4

                      Copy to: Patricia Fernandez, Hartford Workman's Comp Case Manager
                       Workman comp Claim Case: Y67C39822


                                                                                                                                                                   USA13


PCN: 8171861001176 OCN: 8171861001176001 OT Received: 7/5/2017 9:00:00 AM OT Scanned: 7/5/2017 9:43:26 AM Page 8 of 9
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.180 Page 18 of 96




                              EXHIBIT 4




                                                                        USA14
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.181 Page 19 of 96




                                                                        USA15
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.182 Page 20 of 96




                                                                        USA16
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.183 Page 21 of 96




                                                                        USA17
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.184 Page 22 of 96




                                                                        USA18
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.185 Page 23 of 96




                                                                        USA19
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.186 Page 24 of 96




                              EXHIBIT 5




                                                                        USA20
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.187 Page 25 of 96




                                                                        USA21
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.188 Page 26 of 96




                                                                        USA22
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.189 Page 27 of 96




                              EXHIBIT 6




                                                                        USA23
                                 Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.190 Page 28 of 96


                            Person A                             Person B                          Person C                          Person C
                            Collaboration                        Collaboration                     Collaboration                     Collaboration                Person E                            Person F    Date
                            Area          Date Noticed           Area          Date Noticed        Area             Date Noticed     Area          Date Noticed   Reception   Date Noticed            Reception   Noticed
Watery Eyes                        X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Dry Eyes                           X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Burning Eyes                       X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Pressure in Eyes                   X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Blurry Vision                      X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Pressure in Forehead /
Sinus Pressure                     x                                                                                                                              x           nov - Dec 2015/Jan 2016
Headaches                          X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Runny Nose                         x                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Sore Throat                        x                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Head / chest congestion            x                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Fatigue                            X                                                                                                                                    x     Nov - Dec 2015/Jan 2016
Eczema                             x                                                                                                                                    x     Feb - Dec 2015/ Jan 2016
*Infection in lungs                x        Nov-Dec 2015/Jan-March, 2016      Multiple Upperespitory Infections from 30 Nov, 2015 - 02 Feb, 2016                        x

* Michelle's Daily Log response to Office Conditions:
01 Feb, 2016
0620 - Clear
0800 -Dry sore Throat
1519 - Sinus Pressure / Headache/ Heavy Chest

02 Feb, 2016
0628 - Clear
0729 - Dry eys / skin
1304- Sinus Pressure / Headache/ Heavy Chest
1500 - congested, snotty
* May be food issue

03 Feb, 2016
0633 - Slight Headache
0740 - Dry Throat
0930 - Sore Throat.
1400 - Sinus Pressure / Headache/ Heavy Chest




                                                                                                                                                                                                                     USA24
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.191 Page 29 of 96




                              EXHIBIT 7




                                                                        USA25
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.192 Page 30 of 96




                  STEWART LONKY, M.O., F.A.C.P.
                DIPLOMATE, AMERICAN BOARDS OF INTERNAL ME DI CINE
                                  & PULMONARY MEDICINE

  81767 Dr. Carreon Blvd., Su i~e 203
  Indio, CA 922Jl
  Ph . ( 8 7 7 } 7 7 5 - 4 2 7 7
  Fax (760) 239-6890

  August 24, 2017

  The Hartford
  P.O. Box 14187
  Lexing ton, KY 4051 2
  Attn; Patricia Fernandez, Claims Speciali s t

        PANEL QUALIFIED MEDICAL EVALUATION IN INTERNAL MEDICINE AND
                       PULMONARY MEDICINE MEDICAL-LEGAL REPORT


  RE:              Miche lle Gibson
  DOI:             Oct obe r :s, 20 15
  EMPLOYER;        Client Sol u ti o ns Archi t e cts , LLC
  OCCUPATION;      Admi n istra t i ve As s i st a n t
  CLAIM NO.:       Y67C39 82 2
  WCAB/EAMS NO . ; N/ A
  PANEL NO.:       2 0 57 904
  OOE~             Au gu s t 2 4, 2 017


  Based    o n Cal i f ornia Cod e       o f Re g u lat i .ons 97 93 Pa.ra gra ph (h) ,
  9795r    a.nd Par agraphs (b ),         (c) and (d), th i s report i s billed
  u n der che ML 104- 95

  Thi s report ' s an Extraordinary Comprehensive Me dical - Legal
  Eval uation a n d includes the follow i ng COMPLEXITY FACTORS (4
  factors for ML 104}

  Explanation of circumstances and justifications f o r use of
  procedure codes:

  1.     Face     to    face    time    wi th   patien t     (His t ory   and   p n ysical
  e x amina t ~on ) 2 . 5   h our(s)
  2.     Record        review   t ime   1069pgs ,    :i.   345"   (S ort ingr   r eading ,
  summarizing 2+ hrs}
   12.5 hour (s )




                                                                                       USA26
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.193 Page 31 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 2

  3. Report preparation time 1 hour(s)
  4. Medical research (provide excerpts & list of ci tatioris) (2+
  hrs.)     2.5 hour(s)
  5. Addressing c:o.usat.ion J _
  6. Addressing apportionment
  7.    Three   or     more   employers and  injuries     address ing
          '     +- o.f ulJun.es
  appor t.ionmen_      ' '  '   __!!,_
  Prior multiple injuries to same body system _E_
  Two or more injuries to two or more body systems
  8. Evaluation involving prior multiple inj ur ies to the same body
  part or parts being evaluated,        & three or more complexity
  factors (1-6) addressed: Yes/No

  **This is a medical legal report and does not qualify for                a
  FPO/Network discount.

  Date of Report: August 24, 2017

  Si.gned   this   21st     Day   of   September,   2017            _Ang~J es
  County.

  Dear Gentlepersons:

  I had t he opportunity of evaluating Michelle Gibson in my
  capacity as a Panel Qualified Medical Eva luator on .August 24,
  201 7 , in complia nce with the guidel" :1es established by t he
  Industrial Medical Council.   This exam.i.nation was conducted at
  690 Otay Lakes Rd Ste 110 , Chula Vista , CA 91910-8904. The
  following report is based on a comprehensive histo=y and
  physical examination , review of available medical records, and
  laboratory data.

  This report was compiled with the help of Melanie Conley,
  Medical   Historian , who     assi s te d in obtaining historical
  information on this patient .

   1 personally performed this evaluation based on a specific
  request from the patier;t and the insurance company . l was asked
  to physically examine and evaluate "::.he injured worker and to
  prepare a report in answer to specific medical legal issues as
  stated in the cover letter.    The ~allowing report is based on a
  comprehensive history and      physical  examination,  review of
  availab le medical records, and laboratory data.



                                                                         USA27
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.194 Page 32 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 3

  HISTORY OF PRESENT ILLNESS

  Ms. Michelle Gibson :s a 52-yea r- old Caucasian female who
  started   working     for     Client   Sol ut i on Archi tects as   an
  administrat ive ass:...stant on April 2 9 , 2013.  She worked directly
  for the chief engineer who wa s a senior consultant t o the
  admiral at the base.         Thi.s work was at a facility known as
  SPAWAR which is Space and Naval Systems Warfare Systems, located
  in San Diego, California.         This center, SPAWAR, was also the
  site of her orior employment., corrnnencing in 2010, where she
  worked for another company known as Booz Allen in the same
  capacity.

  She worked initially f or Booz Allen a t this location in building
  OTl, commencing in 2010, until she had an a u -: o accident in 2012.
  She returned to work after reco veri ng fr om her auto accident and
  was s~ationed in a new building, OT4 where she continued ~o work
  for Dooz Allen until March 2013 when s h e was l e t go secondary t o
  a funding cut.    She commenced her work for Client Solutions
  Architects in buildi ng OT3 in April 20 1 3 to the pr ese nt t ime,
  with many episodes of being relocated d uring t hat course of
  employment secondary to problems wi t h the indoo r ai r environment
  in building OT3 .

  :3he r elated to ~,PAWAR and all o f i ts bu ilding s we r e constructed
  in the 1 930s, when the bui_ t bombers , weapon, and ·w eaponry.      In
  f act, she s tat es that 0T3 , .her office that she was located in
  for   Client    Solution  Architects ,  wa s an  office     t ha t was
  const ruct ed right where various munitions were co ns t ructe d.  She
  stated much ot the construction inside was brand new 2.nd was
  "beautiful."

  Shortly after she bega n her employme::1t at Clien t Solut ions
  Architects ,    sne began noticing heada c hes ,   tightness i n her
  ch est , burning in her e yes , and some blurred vision . She s t ated
  t hat she had a "fogginess" and that this had bec ome fa ir l y
  apparent by Pm.gust in 2013 ,        not  only t o Ms . Gibs on but ,
  according to her, other employees .      Since she had had a p r evious
  head inju ry, she cons idered the fact "'.:hat thi s wa s simply a
  manifest.ab.on of her headache , but because of the number of
  complaints , by Augus t 2013 , test i ng was done and ::.hey detected
  high levels of formaldehyde in the building, a cco r di ng to Ms .
  Gibson.     'rhe employees were to l d that thi s was a design f l aw,



                                                                        USA28
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.195 Page 33 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 4

  and she and other employees were moved to another section, while
  repairs were made, including changing the furniture and some of
  the o~her accoutrements of the office. When she returned to her
  workspace 1n OT3 on the first floor, metal furniture had
  replaced all the wooden ~ur~iture,       and unfortunately with
  testing again formaldehyde levels wi=:re still quite high.  Once
  again, the entire staff was moved.

  Ms.  Gibson re_ates that in approximately September 2014, :.here
  was a water main break.       This resulted in flooding and an
  increase in the number of mice and rats and other unwanted
  "guests"   that   were   frequently     seen  in   that  building.
  Apparently, the space was sprayed, the water removed, and by
  September   2014   she  was    not ified   that  in   addition  t.o
  formaldehyde, she had been exposed to trichloroethylene or TCE.

  Shortly   after  September        2014,    she     began     suffering      f r om
  intermittent night sweats.

  Ms .  Gibson states she continued t o work, without missing days
  from work, and that by October 2015 she star:ed getting what she
  considered to be "really sick."            She developed an upper
  respiratory    infection or a      "flu ,"  had easy f at igability ,
  sho rtness of breath r and appa re nt.ly, she had been p reviously
  diagnosed with exercise-induced asthma years prior to this, and
  thought tha t perhaps her exercise-induced asthma was acting up.
  She was treated with antibiotics, and this did not significantly
  improve her symptoms .   By February 20 16, she was s o sick : .hat in
  addi tion to her chest x -ray, she had a CT scan obtained whe re
  pulmonary nodules, according to the patient many nodules; were
  noticed.    She states that prior t o this CT scan, a b.lood test
  f o r various antibodies related to ::ungus exposure , believed to
  have occurred seconda ry to ~he increased moisture in the
  e nvironment , and came back positive ~or aspergillus.

  She was referred to a pulmonary Specialist , Julian Lichter ,
  M. D., in San Diego, who continued to in vestiga te the etiologies
  of her abnormali ties.  She was not produci ng v ery much sputum,
  she had cough and shortness of breath , and because of the
  abnormalit.ies   detected   d   bi opsy   was    performed   in   20 1 6   via     a
  visually assisted ~hora cic surgery p rocedure, otherwise known as
  VATS.   This proced ure is performed by passing a scope into "'.:he
  thoracic cavi ty, and obtaining mul t i p l e biopsies. Apparently,



                                                                                   USA29
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.196 Page 34 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 5

  numerous species of aspergillus were grown, along with nocardia,
  a partially acid-fast bacteria which is extraordinarily rare.

  Ms. Gibson states =hat she was started on oral antifunga l drugs,
  but a repeat CT scan at a later date showed no improvement and
  perhaps even a worsening of her chest x-ray picture.            The
  patient had then been switched to intravenous micafungi n and
  this was started in 201 7 , in~tially with a PICC line a nd the n a
  Groshong catheter.   The remarkable th ing about all of this is
  she went back to work( doing her infu sions of her micafungin
  while at work.

  PRESENT COMPLAINTS

  As a result of all of her therapy, Ms. Gibson states that             she
  had tremendous loss of energy, appetiter and strength.      She       had
  previously been fairly active, not only exercising regu l a r:y       but
  active with her two grandchildren , who are under ten years           old
  and demand a fair amount of energy from her.           She has remained
  under the care of Julian Li chter, M.C., and as recently as t wo
  months ago had an unfurtunate circumstance with an increase in
  her symptoms.    In July 2017, she had a terr ible feelj_ng in her
  chest, went to wo rk , gave herself 11er micafungin infusion , but
  became very short o f breath .   She had more wheezing than she had
  previously, development of a fever, and a CT scan tha t had been
  done :m ,July 7 had shown spread , according to Ms. Gibson .           She
  underwenc a fiber optic bronchoscopy on July 21.         At tha t time,
  according to Ms . Gibson, pasty material was removed from he r
  lung , and sent for cu l tu re . Aspergillu s ~as still present , but
  the    nocardia   had   disappeared   after     her   treatment      with
  sulfonamides.   Because of the abnormality on her chest x-ray and
  what had appeared to be a worsen ing of her p _cture , she was
  started on C:resemba , an extraordinarily new and highly potent
  anti fungal therapeutic a g·ent which is g i v en orally .  Init j_aJ_ :y,
  when she was in the hospital on August 3, 20 1 7, she was given a
  single infusion of amphoter.i.c.i.n B, but fo l lowing the CT scan
  that wa s done on August 3, 2017 , showing improvement in her x-
  ray, a CT scc.n, i t was felt -::.h at treatment with amphot eri cin
  would not be necessary and that Cresemba would be enough.

  She continues to feel weak, although she s tates her appetite is
  improved slightly .   She con tinues to have easy fa tigabili ty,
  shortness of b reath with exertion, and has not real l y been ab le



                                                                        USA30
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.197 Page 35 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 6

  to engage in very much physical activity.        She is not having
  fevers or chL. .::..s at this particular point in t i me. Her.' cough
  remains nonproductive.

  Because Ms. Gibson and her significant other did exper1ence a
  flood in their home, they did have, according to her, an
  evaluation of the home which was performed in August 2017.
  'l 'esting for aspergillus showed leve l s that were presem: in the
  house at a level lower than that which was pre sen:, outdoors.
  This     is generally accepted as     a    sign that there is no
  signi~icant increased presence of aspergillus in her home.

  OCCUPATIONAL HISTORY

  Prior to working a.t Client Solution archi tee ts, $he worked, as
  noted above, at Booz Allen at the same physical location bu t a
  different building starting in 20~0 through 2013.            She is
  unaware of any e xposures that she ma_y have suffe r ed during that
  employment .

  Prior t o 2010, she worked in Temecula , Cal ifornia for ten yea rs
  for Hade f f and So_ar.  She was an executive assistant in that
  position, with no known exposures.

  She wor ked at Hadeff and Solar fr om 2000 to 2008 or 2009, when
  she was laid off because of f inancial issues with the company
  and she went to dental assistant school from 2009 to 2010.

  PAST MEDICAL HISTORY

  In 2010, she was diagnosed wi t:h exercise-induced asthma.         At
  this time , she was working at SPAWAR, but she was unaware         if
  the re we r e any " fumes" in the building.  She stated t hat she was
  not the only one complaining of cough and some chest tig~1tness .
  At that time, she was told tha t she only had to worry aboui:
  exercise .    She does no:. remember what kinds of -:es ts were being
  done .

  She denies any history of hypertension , diabetes, childh ood
  allergies , asthma , eczema, or any ot her seasona l a ll ergies. She
  did have some hay f ever as a youngster , she bel i eves, and
  developed occasional sinus infections on a seasonal basis ;
  however , she had no allergy testing and never had asthma or



                                                                        USA31
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.198 Page 36 of 96




  RE:   Miche.lle Gibson
  DOE: August 24, 2017
  Page 7

  breathing problems.

  FAMILY HISTORY

  She has a father who died at age 36 of complications of diabetes
  and alcoholism.   Her mother is 73 and in good health with no
  allergies and no respiratory illness.  She has no family history
  in siblings    of any allergies or asthma.        She has   ~wo brothers
  who do not have allergies or hay fever.

  HOSPITALIZATIONS/SURGERIES:

  Biopsies of the skj_n performed in the past..        No histo r y of skin
  cancers~

  ALLERGIES~

  The patient is allergic -:.o Tylenol and codeine.

  SOCIAL HISTORY

  She grew up i.n El Cajon a nd has : ::.. ved ".n San Diego most of her
  adult life.     .She _ives in a house at this particular point in
  time , mostly with ~i l e~ but wi t h two areas of carpe t ing. All of
  the windows h1;.ve bl inds and two of the rooms have d r apes .    She
  has two dogs th at are nindoor and outdoor dogsu but she has no
  other pets.    She has two children, neither of which live at home
  at this t ime , a son age 32, and a daughte r age 28 , who hav e no
  history of ast~rna or allergies.

  Smoking:     She smoked cigarettes until      she was 20 and then she
  discont i nued t h e habit.

  Alcohol :   She used to drink socially, but curre n t ly is off all
  alcohol s i nce she started getting sick in 2015 and was p l aced on
  medical therapy for her aspergill u s.


  REVIEW OF SYSTEMS

  GENERAL:    She : s still weak,     as noted a bove gets ti red e as il y
  and has s h ortness of breath.       No feve rs, chi ll s, or swea t s at
  this time.



                                                                        USA32
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.199 Page 37 of 96




  RE:   Miche.lle Gib s on
  DOE: August 24, 2017
  Page 8


  HEAD: Occa.s ional headaches.

  EARS: No tinnitus.

  NOSE: No nosebleeds.

  MOUTH/THROAT:

  RESPIRATORY! She denies any audible whee zing.

  CARDI.ORESPI.RATORY ~  denies any angi na t ype pai n.
                            She                             She d o es
  not have paroxysmal nocturnal dyspnea.  She does no t s no re.  She
  does not hav e any signs or symptoms of obs truc t i v e sleep apnea.

  GASTROINTESTINAL~ He r appetite is :air, b ut she has not bee n
  abl e to put on much we ight and continues t o hover a r o und 114
  pounds .     She has no nausea , v omiting, o r dia rrhea.        Bo wel
  movemen ts are normal.       Her wei g h :. ts d.ovm appro ximatel y J 5
  poun ds f rom wh ere she usual l y is .

  GU:      She      co ntinues    to   menst r uat e a n d has no t    s t art e d    any
  menop ausal t yp e symptoms.          She d e nie s any dysuria,     po l yuria ,    or:·
  h e maturia.

  NEUROMUSCUI.AR AND JOINT:    She does get back pa,;.n f rom time to
  t ime. She has sc i at ica whi ch she r e l ates t o h e r auto acciden t
  which was noted above .

  REVIEW OF MEDICAL RECORDS

  06 / 02/2010       Office     Visit   by    Aliza.beth L.    Truong ,   MD.
  SUBJECTIVE:      Patien t presents for skin check .     Sh e compla i ns of
  spots on skin.       She has family history of melanoma.          Sh e h a s
  noticed a f ew ne~ s caly spots located on h er left cheek and both
  a r ms.   Sh e stated the areas are dry and occasional ly itch y.
  PAST MEDI CAL HISTORY:        Breast augmenta.tion, history o f py.loric
  stenos is     and  surgi c al   t reatment,    family histo ry    of    :MM .
  MED I CATIONS :      Advil     Cold and   Sinus   and Advi l   PM.    ASSESSME NT:
  1 ) Actinic ker.atosis of left posterior shoulder.          2 } Actin i c
  elastosis.        3) Neopl asm , ski n of uncertain behavio r of left
  medial     abdomen ,   left     medial  cheek , right chin .      PLJ~N:
  Cr yosu r ge r y with iquid ni trogen done to x l lesion; patient to



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.200 Page 38 of 96




  RE:  Miche.lle Gibson
  DOE: August 24, 2017
  Page 9

  f /u  in  three   weeks 5f   lesion   is  not   resolved.    Sun
  protection/avoidance emphasized; frequent self-exams encouraged.
  Tangential biopsies done with patient's consent to                       rule   out
  malignancy.  F/u in three weekr~. (Gibson Michel le                 *~    Medical
  Records: 318-319)

  06/02/2010    -Pathology Report by Khanh P. Tran, MD at Pacific
  Pathology, Inc.    SPECIMEN:  1) Skin, right chin, shave excision .
  2) Skin, left medial cheek, shave biopsies.          3) Skin, lef~
  mecLi.al abdomen,  shave biopsy.     IMPRESSION~    1)   Tntradermal
  nevus, with mild dermal fibrosis.    No malignancy identified.      2)
  Consistent with solar lentigo/pigmented actinic keratosis.         NQ
  malignancy .identified.      3)  Junctional nevus ,    inflamed and
  iLTitated, with pigment incontinenee, excised in the plane of
  section ex.amined.    (Gibson Michelle #-3 Medical Records:      31 o.,.
  31'7)

  02/06/2013           Progress   Note by      Alizabeth        L.   Truong,   MD .
  SUBJECTIVE.:       ?at.ient presents for a NGSE.            She has not iced a
  couple of new spots located on her face she is conce r ned about
  and would like examined.            PAST .MEDICAL HISTORY:           History of
  pyloric stenos~i.s and surgi.cal treatment.           C:::ar accident in 2012.
  PA.ST SURGICAL HISTORY;           Breast augmentation.             MEDICAT10NS :
  l\mi triptyl i ne.    OBJECTIVE:   Blood pr-essure is 122/82 mmHg.           She
  weighed 125 pounds .           Height ;     67   inches.         BMI:     19.58.
  ASSESSMENT:        1) Neoplasm,    skin of uncertain behavior of the
  right lateral cheek , left medial cheek.              2) Actinic elastosis.
  3) Nevus , non-neoplastic o f face, n eck, arms r chestr back, legs
  e xcept for biopsy sites.         PLAN;    Ta ngent ial biopsies done with
  patient's        consent     to     rule     out      malignancy.            Sun
  protection/ avoidance advised and frequent self-exams encouraged.
  ABCD reviewed with pat ien t;          f/u for changes in size shape,
  color,     or      if    symptoms     such    as     itching       arise;    sun
  protection / a voidan ce      advise d,    frequent          self-mole     exams
  encouraged .       Advised to f/u per biopsy result; six months i f
  nothing worrisome arises sooner.             (Gibson Michelle #3 Medical
  Records;     322-323}

  02/06/2013    Pathology Re port by Khanh P . Tran , MD at Pacific
  Pathology~ Inc.    SPECIMEN:   1) Ski n, left medial cheek, sha.v e
  excision.    2)   Skin,  right l ateral cheek,    shave excision.
  IMPRESSION:   1) Predominantly int~adermal nevusr with dermal
  fibrosis and inflammation .      No mal.i.gnancy identified.    2)



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.201 Page 39 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 10

  Consistent with a~tinic keratosis, with overlying changes of
  lichen simplex chronicus and excoriation.           Possible under l ying
  :ibrous pa pule.  No malignancy ident_f ied.        (Gibson Michelle #3
  Medical Records:  308 309)
  09/04/2013 ··· Industrial Hygiene Indoor Air Quality Monitoring
  Result fr.om Space and Naval Warfare System Command.           The test
  was conducted from 09/04, 09/10, 09/11, 09/24, 09/25 and 10/09,
  10/11 1  and lD/15/2013.      PARAME'l'ERS MONI 'l'ORED:    63 or:ganic
  hydrocarbons and aldehydes.       DISCUSSION/RECOI:•IMENDA'I'IONS:     No
  organic vapor or chlorine compounds were found in sampled air..
  No significant formaldehyde exposures were found outside the
  Code 50 work. spaces.     Al though many of the Code 5 . 0 sample
  results in the above table exceeded the OSHA maximum recommended
  formaldehyde exposure level of O. 1 ppm fo r optimal indoor air
  quality, most sample results were low enough to not present a
  heal th hazard.  Formald,ehyde e,,:posures exceeding OSHA standar ds
  and guidelines in Code 5. 0 spaces were loca li ze d to tbe Krug
  wooden    f u rniture within the   Code   SSO CIJENG workspaces.   It   was
  recommended rep l acing all Krug  furniture with.in Code  5. 0
  workspace.  Replacement furniture, if of wooden construction,
  should be certified free of aldehyde products.       {Gibson,
  Michelle #2 Medical Records.pdf:421-424}

  09/04/201.3     Industrial Hygiene :ndoor A.ir Quality Monit or ing
  Result from Space and Naval War fa.re System Command.            The tes t
  was conducted .icrom 09/04, 09/ 1 0, 09/11 , 09/24, 09/25 and :::.0/09 ,
  10/11,    and 10/15 /20 13.     PARAl'1ETERS MONITORED;        63 o rganic
  hydrocarbons and t:i.ldehydes.       DISCUSSION/RECOMJ\ENDA7IONS:       No
  organic vapor or chlorine compounds were found in sampled air.
  No s_gnificant formaldehyde exposures were found outside the
  '.:ode 50 work spaces.      Al though many of the Code .5. 0 sample
  results in the above table exceeded the OSHA rt1aximum reco mme nded
  formaldehyde exposure leve: of O. 1 ppm fo r optimal :.ndoor air
  qua.li ty, most sample re sults we r e low enough to not present a
  heal th hazard.    Formaldehyde exposures exceeding OSHA standards
  and guidelines jn Code 5.0 spaces were localized to the Krug
  wooden furnitur e within the Code SSO CHENG workspaces.             It was
  recommended    replacing    all   Krug    f u rn:. ture wi tbin Code   5. 0
  workspace.     Replacement furniture , if of wooden ccnsti-uction,
  should be certified free of aldehyde products.                    {Gibson,
  Michelle #2 Medical Records.pdf:4 21-424)




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.202 Page 40 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 11

  07/11/2014    Industrial Hygiene 7:ndoor Air Quality Monitoring
  Result from Space and Naval Warfare System Cornmand.    The test
  was      conducted      from     07/11      and      08/1 1/ 20 14 .
  DISCUSSION/RECOMMENDATIONS:          In   the   workspace   samples no levels
  were found which exceeded ei t her the occupational exposure
  Jimits   or   the   OSHA   recommended   background   levels for.
  formaldehyde.   (Gibson, Michelle #2 Medical Records.pdf:79)

  01/30/2015            Progress   Note     by
                                          Al izabeth           L.    Truong,  MD.
  SUBJECTIVE:      Patient complains of rasri.   She          1 s concerned about
  some skin irritation located on her back, abdomen, and legs x6
  months.     She notes the irritation f.i.rst appeared after going
  through family stress, but during that same time, she ~ound out
  she may have been exposed to toxic chemicals at work .                        She
  complains of red raised bumps.             MEDICATIONS :       Triamcinolone,
  Aleve-:) Sinus and Cold, and ami.triptyline.                OBJECTIVE :       She
  weighed 12 5 pounds.       Height:     67 inches .    BMI :    19. 5 8 .    Face :
  Actinic damage.      Nose:     Left nasal ala with yellow waxy 2 mm
  papule.      Neck:     Poikiloderma.        Ches~/back:        Scattered tan
  macules and papules ; pos terior trunk with .c.ew l to 2 cm annular
  red scaly plaques .      Abdomen :     Scattered tan 2 to 6 mm macules;
  some annular red scaly plaques on mid abdomen .                   Arms:       Tan
  macules and papules .       Hands :     hyper linear palms .       Thi9hs and
  legs:    Scattered 2 t o 4 mm tan macules; some annula r 1 to 2 cm
  red    scaly   plaques .        ASSESSMENT:        1)    Dermatitis,         NOS,
  dif.:erential    diagnosis     eczematous     dermatitis      from       personal
  stress versus eczema-li ke drug eruption versus ether.                          2)
  Actinic e.lastos i s .      3)   Xe r osis cutis .       PLAN :         Continue
  triamcino l one.    Advised to avoid hot long showers.                     Gent le
  cleansers such as CeraVe o r             equivalent advised .             Use of
  emollients is s uggested within t hree minutes o f                  showering .
  Apply topical sterc:..d sparingly .            Punch b i opsy done .          Sun
  p rotection/avoidance advised and frequent self-exams encouraged .
  Advised that sun p r otec tion /avoida nce is very important .                F/ u
  per biopsy result.        (Gibson Michelle #3 Medical Records:               326 -
  327)

  01/30/2015 - Pa t hology Report       by Doyle D. Hansen ,        MD at Pacific
  Pathology,    Inc .     SPECIMEN:    Skin, righ t abdomen,        punch biopsy.
  IMPRESSION:  Spongiotic derma t i t is .        (Gibson Michell e #3 Medi cal
  Records:  307)




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.203 Page 41 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 12

  04/24/2015     Progress  Note  by  Alizabeth   L.  Truong,  MD.
  SUBJECTIVE: Patient complains of a spot on nose . She notes she
  had a "white head" on he.r nose and picked at the skin.    PAST
  MEDICAL HISTORY:       History of pyloric stenosis and s·Jrgical
  treatment.     Car accident 2012.      PAST SURGICAL HISTORY:       Breast
  augn'\entation.     .MEDICATIONS:      Aleve-D    Sinus   and Co.ld      and
  arnitriptyline.    OBJECTIVE:     Face:    Central facial erythema and
  telangiectasias.      Nose:    Excor iated papule of 2.ef-::. nose tip.
  Forehead:    Yellow waxy papules.       Right Cheek:    ·relangiectas:.:._as.
  Left Chee}c:     Telangiectasias .     Perioral:     Excoriated papules.
  ASSESSMENT:      1) Comedones.      2)   Excoriation.      PLAN:      Start
  tretinoin topical cream O. l %•            Use retinoid followed by
  moisturizer.      Advised to use sunsc reen s and avoid sun if
  possible    to   minimize    dyspigmentation      from   acne    scarring.
  Advised to avoid picking at her skin.           F /u in one year or as
  needed.    (Gibson Michelle #3 Medical Records : 331 -332 )

  03/11/2016     Bilateral Screening Mammogram with Implants by
  Nilofar   Firooznia,    .MD .    INDICAT ION:         History      of  breast
  augmentation, as ymptorttatic.   20MPARISON:       06 /1 8 / 14 and 04/03/:3 .
  IMPRESSI ON:   Category II        benign fi nding.           RECOMMENDATIONS :
  Routine screening mammogram in one year .              (Gibson Michelle # 3
  Medical Records:   218 -2 20 , 293-295 , 3 98 - 400}

  03/11/20 16    CT Chest without Cont rast by William Snyder, MD at
  Imaging Heal the are Specialists .     INDICATION :     Pulmonary :iodule.
  Asthma, recent UTis .   '.::OMPARISON:    2 0 1 0; 12/09/11.   IMPRESSI ON :
  1) Left lower lobe pulmonary nodule is calcified and consistent
  with benign calcified granuloma.        2) There ~s mi l d peribronchial
  thickening and centrilobular nodules with mi ld bronchiectasis
  involving the inferior right middle :obe.                 Cannot excl ude
  bronchiolitis .     3)  Additional area of sma l l           centril obul ~r
  nodules in the lateral !eft lower lobe may also represent s mall
  focus of br onchiolitis. Largest nodule measures 3 mm . Consider
  followup CT scan after.' appropriate inter.·val therapy in six
  months.     4) Small patchy atelectasis in t he ~e ft suprahilar
  location may a l sc be root in re l ation to of p e ribronchial
  thickening.    {Gibson Michelle #3 Medical Records:          221-223, 296-
  2 98, 401 403)

  03/15/2016       Indoor    Air   Quality from Occunational Services ,
   Inc. , b y Johnny Lim    ( Industrial Hyg ien i st ) . The r esu l ts of the
  indoor a ir concentrations of spores collected on 03/15·-·16/2016



                                                                            USA37
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.204 Page 42 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 13

  were e-'-evated ..:..n 0T-1 2 nd Deck Near Handicap Elevator and OT-3
  Office 1900 Comer           Water Intrusion Zone.     The air sample
  collected in OT- 1 2        r.d Deck Near Handicap Elevator reported
  concentrations       of Stachybotrys    spores  of 43   0 spores/m3.
  Stachybotrys spores were not typically picked up in air samples
  as a result of their size, and tend to settle out of the air. A
  tape lift sample was also collected from the piping insulation
  cover above the handicap elevator and resulted in a general
  observation of S~achybotrys mold growth.             Considering the
  results of the tape lift and the air sample at OT-: 2 nd Deck Near
  Handicap    Elevator    location,   the   pcltential   for   indoo::::-   11lold
  contamination was high in that location.            EMLab P&K Laboratory
  also assigned a MoldSCORE of 300 to that location,                    which
  indicated that the potential for indoor mold contamination was
  high.    The air sample collected :. n OT..,..3 Office 1900 Corner -
  Water       Intrusion       Zone      had      elevated      2.evels     of
  Penicillium/Aspergillus of 9100 spores/n3.            I t was :1ot unusual
  to    ~ind     Penicillium/Aspergillus       spores     indoors    in   low
  concentrations,     but    the    level   observed were elevated and
  approximately     50    times    the    concentration    outdoors.      The
  concentration and the MoldSCORE by EMLab P&K labo ratory of 300
  indicated that the potential for indoor mold contamination was
  high in that location. The direct microscopic analysis of t he
  tape samples co llected in OT-: Office 2038 HVAC Supply Vent and
  OT-1 Office 203 6 Near HVAC ~: upply Vent also resulted in a
  general i mpre ssion of mo::..d growth.      All dust s amples collected
  from the carpet in Office 190 1, 1900, 19 05, 1914, and 1271 did
  not show signs of mold growth.             OSI GENERAL RECOMMENDATIONS:
  During al: remediation processes, personal protective equipment
  should include: N95, disposable coveralls, eye protecti on, and
  nitrile gloves.       As feasibly possible, cover all non-affected
  surfaces to prevent the spread cf spores during repairs and
  remediat.i.on.    Maintain affected areas under negat i ve pressure
  during r emediation.         Identif y water intrusion so ur ces and
  repair.    (Gibson, Michelle #2 Medical Records.pdf:554~574)

  03/23/2016 - Office Visit by ,Julian Licht.er, MD.       SUB,TECTIVE:
  Patient presents with recurrent bronchial infections, calcified
  lung nodule, min imal subtle centrilobular nodu les in LLL and
  RIV!L. Questionable bronchiol:i.tis, cough, f at i gue, and asthma .
  PAST MEDICAL HISTORY ;     Childbirth , Bell's pa:sy, histor y of
  abnormal ::::hest CT, history of allergic sinusitis, history of
  anxiety, cough , dyspnea on exe r tion, exercise-induced asthma,



                                                                             USA38
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.205 Page 43 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 14

  fatigue, history of gluteal pain, history of asthma, history of
  backache, history of basal cell ca.::cinoma, history of fatigue,
  history o f malignant neoplasm of skin, history of multiple
  pulmonary    nodules,    history   of    pneumonia,     history    of
  radiculopathy,    history of shortness of breath,         history of
  urinary tract infection, history of knee pain, history of l ung
  nodule, multiple pulmonary nodules, :history of neck pain, a.nd
  history of vitamin ;) deficiency.         PAS•r   SURGICAL HISTORY:
  Pyloric stenosis, breast augmentation, closed head injury,
  history   of   biopsy   skin,  and  history    of   tubal   ligation.
  MEDICATIOfW:       Ami triptyline HCl,         f'lovent HFA,   a n d Al eve Cold and
  Sinus.    ALLERGIES:    Tylenol and codeine.       OBJECTIVE:    Blood
  pressure   s 124/ 70 mmHg.    She weigh ed 130 pounds.     Height :    5
  feet 7 inches.     BMI:   20.36.   BSA:    l.68.    Heart rate:     86 .
  Temperature:    98.7.    02 $aturation:       99, room air.        Mi ld
  tenderness at level o f bra st.rap post.     ASSESSMENT:   1) --listory
  of cough.    2) Cough.     3) Dyspne a on exertion.      4) Exercise-
  induced asthma..          5)   Patigue.   6)   Multiple pulmonary nodules.         7)
  Shortness of breath.        PLAN:     PFTs show mild rest:r: iction, but
  slow .  V~tal c apacity ~s grea ter than f orced vital capacity , so
  probably has     airflow     limita t ion  with  poorly  commun i cati ng
  a.irspaces.  She should respond to bro nchodila.tors .        She was on
  Adv air in the past.       Advised to use Advair in the morning and
  Flovent at night.     Wi l l not add monte l ukast or Spiriva f or now .
  Orde red labs.       Will monit or changes on CT over time, but no need
  to do any additi o nal workup in ~his regard a t this time.   F/u in
  two months.    (Gibson Michelle #3 Medical Records:   185 -188, 260 -
  263 , 365-368)

  03/23/2016         Spirometry Report from Welch Allyn CardioPerfect
  Works tat.ion.       IMPRESSION:   Unconfirmed interpret ation.  MD
  should review.            (Gibson Michel l e    #3 Med ical Reco rds :     227··229 ,
  3 02 - 304 , 407 - 409)

  04/01/2016 -- Laborato ry from Quest Di agnostics .   High rhe~matoid
  facto r of 17 . Aspergillus fumigatus positive .    (Gibson Mi chelle
  #3 Medical Records: 58-~0 , 204-212 , 279-287 , 384 - 392)

  05/31/2016        Clinical Summary Report           by Naomi    Grady,   M. r .   The
  pa t ient    had   coughed     dyspnea  on   exertion,   encounter     for
  preventive health examination ,         esophageal reflux,    exercised-
  induced asthma ,      f a tigue,  gluten intol e rance , mold e x pos ure,
  mu l tip l e pulmonary nodules, and s h ortness o f b r eath.     CURRENT



                                                                                    USA39
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.206 Page 44 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 15

  HRALTH ISSUES:       She had cough, d y s 9 nea on exertion, esophageal
  r e flux, e xercis e d-induce d a sthma, : a t igue , gluten int olerance,
  mold exposu re, mul t ipl e pulmonar y n od u les, and shortness o t
  breath.       SURGICAL HISTORY:            She   had   a   h is tory of     b i opsy sk i n,
  breast surgery cosmetic procedures, tubal ligation.              CURRENT
  MEDICATIONS:     She   was    on  Ad.vai r    Di $ k\.1s 250-50 mcg/dose
  inhalation aerosol powder breath activa ted , Amitrip tyLi.ne HCl 10
  mg oral tabl et, Flovent HFA 2 2 0 Meg/Act i nh alation a eros o l , a nd
  ProAi r RespiC1ick ( 90 base) MCG/ACT i nha l ation Aerosol powder
  breath activated.     ALLERGIES AND ADVERSE REACTIONS:          She had
  allergies  on   codeine    derivatives,     a nd     Tylenol .  EIYSI CAL
  EXAMINATION:   Her blood p r essure was 1. 1 4/8 0 mmHg and weighed 126
  pounds.   PLAN:    She wa s t o cont inue with inhale r s.       She was
  unable to exercise a.s she did before.                         (Gibson,      Michel : e    #2
  Medical R(;'?COrds .pdf: 200,-206 )

  05/31/2016 ·· Office Visi t by Juli a n P. Licht e r, MD.                   SUBJECTIVE:
  Pa.tient presentB :or f o ll owup o f co u g h, dyspnea on exer t i on,
  encou nter for p revent i ve h e al th exarn.i. nation, e s ophagea.1 ref l ux,
  exe rcise - i n duced       asthma ,    fatigue ,    gluten      i nt o lerance,        mo ld
  e xpo sure , mul t iple p u l:no nary nodules , a n d s hortness o f brea th.
  Feeling bette r si nce t he y changed h e r work i ng e nviron ment .
  Prone to g l u ten r eactions for p ast year a n d a ha l f .                     Wh e n i t.
  oc curs , it knoc k s it out.              Left with severe fat ig ue .                 Also
  abd omina l pa in sev ere trnd b l o ating·.          New 90% r e so luti o n.          Mi l d
  in h er previ o u s wo rkspace .           Hypersensi ti vi t y p n eumo n i ti s s hov-rn
  expos ure t o Aspe r gillus f urnigatu s .             Has cen t r i l ob ular n odules
  LLL , RML .      Vitamin D is low.           Also has anemia .          Heartbur n f rom
  the glut en reaction .            Pri l osec helped .        PAST NE DICAL HISTORY:
  His tor y of abnormal c hes t CT , h is tory cjf al l e rgic s i n~usit is ,
  h is to r y o f    anxi ety,     c ough ,   d yspnea on exerti on,           e s oph ageal
  reflux , exercise- induced asthma ,               fatigue , hist ory of gluteal
  p ain ,    glu ten    intolerance ,        history      of    ast hma,      histor y       of
  bac kache , history of basal ceJ.l carcinoma, histor y of Bell 1 s
  pa l sy , history of fatigue , history of ma l i gn an t neoplas m of
  skin ,     history      of     multiple      pulmonary       nodu les ,     his t o r y    of
  pneu monia , hist o ry of radiculopath y , tistory c f s hortness of
  brea t h , his t ory of urinary t ract infect ion, his t o r y of knee
  pa i n ,   his t ory of lung nodule ,             mul t i ple   p u l monar y nodu les ,
  history of neck pain, shortness of breath, and history of
  v i tamin D deficiency .          PAST SURGICAL HISTORY:            Hi stor y of biopsy
  skin ; history of breast surgery cosmetic procedu res ; and 3ist o r y
  o f t u ba l liga t i o n .    MEDICATIONS :       Ad.va i r Diskus , arni tript y l i ne



                                                                                            USA40
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.207 Page 45 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 16

  HC1,  Flovent HFA, ProAir RespiClick , Aleve Cold and Sinus.
  ALLERGIES:   Codeine derivatives and 'I .'ylenol.   OBJECT IVE:       Blood
  pressure is 114 / 80 mmHg.    She weighed 12 6 pounds.       Temperature:
  98.5.    Heart rate:      82.    BMI:     19.73.   BSA:        :..66.     02
  saturation:    99.    ASSESSMENT:     1 ) Dyspnea on exertion.            2)
  Exercise-induced asthma.       3) Multiple pulmonary nodules.             4)
  Encounter for preventive health exami nation .         5)   Fatigue.      6)
  Gluten intolerance.     7) Esophageal reflux.       8 ) Mold exposure.
  PLAN:     Continue ~nhalers.       Res ume   exercise activities as
  tolerated.   Do not re-expose to moldy work area.         Repeat ?FTs at
  next visit.   Repeat CT of chest just be~ore next visit.            F /u. on
  08/23/16.   (Glbson Michelle #3 Medical Records:         61 -64, 18 1 -!84,
  256-259, 361-364)

  08/12/20~6 - CT Chest without Contrast by Gordon Zink-Brody, MD
  at Imaging Healthcare Specialists.             INDI CATION:   Solitary
  pulmonary nodule.      IMPRESSION:       : ) Inte:rva: progression of
  centrilobular and tree - in - b u d opacities in the left upper lobe,
  lingula, and right upper lobe.            Differential considerations
  inc~ude endobronchial spread of disease including bact erial and
  granulomatous disease.        2) Little change in tree - in - bud and
  centrilobular opacities in the midd l e lobe and l eft lower lobe.
  3) Otherwise u nchanged .      (Gibson Michelle #3 Medical Records :
  65-6 7, 122-123, 215-217 , 290-292, 395-397)

  08/23/2016 -- Office Visit by Jul~an P. Lichter, MD .             SUBJECTIVE:
  Patient- presents :or folJowup of cough, dyspnea on exertion,
  encount er for preventive health exam ina:-.ion, e sophageal. reflux ,
  and exercise- induce d asthma.         She reports exposure to mold in
  workplace.     Abnormal CT or chest with t ree in bud opacities.
  Questionable hypersensi ti v i t y pnemnoni tis .       OB,JECT IVE :      Blood
  pressure is 122/80 rmnHg.        She weigh ed 12 8 pounds .     'Temperature :
  98.7.     Heart- Rate :      75.    BMI :     20 . 05 . BSA :       1 .67.    02
  saturation :     99 .    ASSESSMENT :     1) Dyspnea on e x ertion.           2)
  Encounter fo r preventive heal th examination .               3) Esophageal
  reflux .    4) Exercise-,-induced asthma .         5) Fatigue.        6) Gluten
  intolerance.        7)   Cough.     8 ) Mo l d exposure.         9)     Multiple
  pulmonary nodules .        10) Shortness of breath.         11) Dyspnea on
  exertion.      PLAN :      Questionable bronchoscopy yersus empiric
  steroids.     Pa:.i ent 1 s thinking about options.          In retrospect ,
  since    ~~~c   is     a    distinct    poss ibil ity,    would        recommend
  bronchoscopy before starting empiric steroids .               Continue with




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.208 Page 46 of 96




  RE:   Miche.lle Gibson
  DOE: August 24, 2017
  Pa ge 17

  inhalers .  F/ u on 11/29 / 16.   (Gibson Mic helle                           #3   Medical
  Records: 73-76, 176-180, 251-255, 356- 36 0)

  08/23/201£           Clinical    Summary Report     by Naomi        Grady .    M.D.    The
  patient had cough dyspnea on exertion,                  encounter o f          preventive
  heal th examination 1 esophageal ref l ux, exercis e d-, induced asthma,
  fatigue,      gluten    intolerance,      mold   exp o s u re,    multiple pul mo nary
  nodules,      and shortness       of   breath.    CURREN'l' HEALTH ISSUES:             Sh e
  h ad health issues of co ugh , dyspnea on exertion, es ophageal
   reflux, exerc ised-induced asthma, ~atigue, gluten i ntol eran c e ,
  mold exposure 1 multiple pulmonary nodules, a nd .short n e ss of
  breath.    SURGICAL HISTORY:    She had a history of biops ~1 s k i n,
  breast surgery cosmet i c p r ocedures, tt:bal liga tion.           CURRENT
  .MEDICATIONS:     She   was   on Adv air   disku s    2 50-S0     Meg/dos e
   inhalation aero$ol powde-r breath activate d, Arnit riptyli ne HCl 10
  mg oral tabJ.et, benzona.t.ate 200 mg oral caps ule, Flovent HFA 2 20
  MCG/AC'l' inhalation aerosol,    ProAir Re spiCl::..ck :'.. 08 ( 9 0 b ase )
  MCG/ACT    i nhalat i on aer os o l powd er breas:h activated i nhale f o r
  two puffs by mouth every six hours as needed fo r one month .
  ALL ERGIE S AND ADVERSE REACTI ONS :        She was allergi es to :::odeine
  d e rivative s, a nd Tyleno l .       PHYSICAL EXAi" 'lINATION : He r blood
  pre ss u re was 1 22/ 8 0 mmHg a n d weig h ed 128 pou nd s . PLAN:                She was
  t o con t inue inhalers .       She wa s stil l o n fati g ue to                   reduced
  exe rcise      to l eran ce .        (Gibson,     Mich elle     #2                 Medical
  Re cords. p d f :222 2 26 )

  08/23 / 201 6 - Spi romet r y Rep o r t f rom Welch Allyn Ca r dioPerf ect
  Wor kstation .         IMPRESSION:        Unconfirmed interpretation .     MD
  s h o u l d rev iew.     (Gibson Mi c h elle #3 Medical Records :  22 4 -226 ,
  2 99-3 0 1, 404 - 40 6 }

  08 / 28/2016  Laboratory from SD Pulmonary.                         High RDW of 16. 9.
  Low hemoglobin of 10.0 , hematocrit of 31.8 ,                      MCV of 68 , MCH of
  21.3 ,    and MCHC of 31.4.            (Gibson Michel::.e        #-3 Medical Records :
  192-·193 , 2 67-268 , 372 -37 3}
  08/2 9 / 201 6   La b oratory from LabCorp.      High Rm'>l o f 1 6 . 9.  Low
  hemoglobin of 10.0 , hematocrit of 31.8 , MCV of 68 , MCH o: 2:;_ . 3 ,
  a n d MCHC of 31 . 4 .     (Gib son Mich elle #3 Medi c a l Reco r ds :  202-
  203,     277 278 ,   382 383 )

  09/02/201 6 - Pathology Report b y David Byl u nd , MD at Scripps
  Mercy Hospita l.  SPECIMEN : ..:. ) Tran sbronchial l ingula biops i es .
  2)   RML    RUL,  bronchoalveola r      lavage.       3)   LUL/.l.ingua ,



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.209 Page 47 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 18

  bronchoal veolar lavage.   IMPRESSION:   1 } Fragments of alveolar
  lung parenchyrna, no significant abnormality identified.       2 } No
  malignant: cells are ;identified.     Acute inflammation and few
  fungal hyphae present.      3) No malignant identified.        Acute
  inflammation.   (Gibson Michelle #3 Medical Records:   68- 7 2, J..20-
  121., 194-201, 269-276, 374-381)

  09/26/2016     Drinking Water Survey from Occupational Services,
  Inc., by Johnny Lim (Industrial Hygienist}.       CONCLUSION AND
  RECOMMENDATIONS:      The results of the lead drinking water
  analysis .1.n the sampled locations resulted in levels ranging
  from 0.092-2.4 ug/1, which was well below the MCL set by
  :alifornia Department of Public Health of 15 ug/1.    No further
  actions   were   necessary.      (Gibson, Michelle   #2   Medical
  Records.pdf:620-625)

  09/30/2016 ·· Laboratory from SD Pulmonary.   High ROW of 17.7 and
  alkaline phosphatase of 123.    Low hemoglobin of 10.0, hematocrit
  of 33.1, MCV of 67, MCH of 20.2, and MCHC of 30.2.         {Gibson
  Miche l le #3 Medical Records: 189-191, 264-266, 369-371)

  10/11/2016       :ndoor Air Qual ity from Occupational Se r vices,
  Inc., by Johnny Lim ( Industrial Hygienist) .          The res ul ts of the
  indoor air concentrations of spores were co llec te d on 10/~!/2016
  and 10/17/2017.       CONCLUSION AND RECOMMENDATIONS:            The spore
  concentrations in the area surveyed were compared to the i ndoor
  concentrations and were not elevated.            The MoldSCORE for the
  areas surv eyed ranged from 102 - 127, wh ich indicated that the
  potential fo r mold spor es to originate fr om a n indoor source was
  low and unlikely.     The carpet dust samples did not r e su l t in any
  observations of mold growth.     No further ac tion s were necessary.
   (Gi bson , Michelle #2 Medical Records . pdf : 578 -6 16 )

  1 0/18/20lf   Office Visit by Julian P. Lichte r, MD.       SUBJECTIVE :
  Patient presents for followup of cough, dyspnea on exertion,
  encounter for preventive health e x amina~ion , esophagea l r eflux,
  exercise-i nduced asthma , and fat i gue.   She c ompla ins of exposure
  to mo _d in workplac e .   Abnormal CT of chest with tree i n bud
  opacities .   Questionable hype rsensi tivity pneumon i ti s .    Started
  coughing after starting Sporanox.          Cough ing up clear ,3 pu t urn.
  Tongue is thick and mouth is dry .        Metallic taste.    Nausea and
  appetite is poor.     OBJECTIVE :    Bl cod pressur e is 1 28 / 82 mmHg .
  She weighed 12 6 p ounds.   Temperature:      98.6.  Heart rate:      75.



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.210 Page 48 of 96




  RE:     Michelle Gibson
  DOE: August 24, 2017
  Page 19

  Respirations:  16.  BMI:  ~9.73.            BSA:  1.66.    62 saturat:on:
  98.   ASSESSMENT:  1) Dyspnea on           exertion.    2) Encounter for
  preventive health examination.              3) Esophageal reflux.      4)
  Exercise····induced   asthma.   5)   Fa.tig·ue.   6)   Gluten   .intolerance.
  7)    Moldexposure.     8) Multiple pulmonary nodules.    9) Cough.
  PLAN:          see ID specialist on 10/20/16.
               Will                                ::nclined -:o stop
  Noxafil but may continue tiJ.l she sees ID physician.       Ordered
  chest x·ray.     (Gibson Michelle #3 Medical Records:   77·81, 170-
  17 5, 245-250, 350-355)

  10/18/2016    Clinical Summary Report by Naomi Grady, M.D.   The
  patient. had cough dyspnea on exertion, encounter of preventive
  health examination, esophageal reflux, exercised-induced asthma,
   fatigue,     gluten intolerance,    mold exposure,    multiple pulmonary
  nodules,      and shortness of breath.      CUR_RE:NT HEALTH ISSUES:      She
  had coughed dyspnea on exertion, esophag·eal :cefl ux, exercised
  induced asthma,     &atigue,   gluten intolerance, mold exposure,
  multiple     pulmonary    nodules,   and    shortness    of    breath.
  MEDICATIONS:       She   was  on .Adva.ir   diskus   250-50   mcg/dose
  inhalation aerosol powder breath activated , amitriptyline HCl 10
  mg oral :::ablet, Flovent HF'A 220 mcg/act inhalation aerosol,
  Noxaf.i.L 100 mg oral tab let delayed release, ProAir respic lick
  108     {90  base)   rncq/act  inhalation    aerosol   powder   breath
  activated.    ALLERGIES AND ADVERSE REACT : ONS:    She was allergies
  to codeine deri va.ti ves, and Tylenol .  PHYSICAL EXAMINATION :   Her
  blood pressure was 128/82 mmHg and weighed 126 pounds.           PLA.t'-J:
  She was to see infectious disease specialist in 10/ 20.       {Gibson,
  Michelle #2 Medical Records.pdf:230-236)

  10/18/2016     x ray of Chest by Matthew Cronin, MD at Imaging
  Healthcare Specialists.     I.NDICATION:    Acute onset of cough two
  weeks age .     History cf e x posu r e   to mold .    On ant i fungal
  treatment.    Initial episode of care.        COMPARISON:   06/14/10.
  IMPRESSION :  Lingular infiltrate..    Recommend followup .  S..:.at wet
  read sent at :.he time o::: the interpretation.      (Gibson Michelle
  #3 Medi.cal Records:  82-83, 214 , 289 , 394)

  10/22/2016 ·· CT Sinus with and without Contrast by Mark Franke ,
  MD at Imaging Healthcare Specialists .    IND I CAT ION: History of
  basal cell carcinoma of the left face .    Pulmonary aspergillosis
  infection.    Current flu-like symptoms.    IMPRESSION:   1 ) Clear
  paranasal sinuses .   2) A 5 mm l e ftward nasal septal deviation
  with left bone spur caus ing moderate narrowing of the lef~ nasal



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.211 Page 49 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 20

  airway.   3.) Referred to concurrently performed examination of
  the brain for intracranial detai:_.  (Gibson Michelle #-3 Medical
  Records:  114-115, 126-127)

  10/22/2016 - CT Brain with and without Contrast by Mark Franke,
  MD    at   Imaging·    Heal thca..r. 9    Sp 9 cialists.      INDICATION:
  Aspergillosi s.    Pulmonary mycobacteria infecti. on.       COMPARISON:
  06/13/12.    IMPRESSION:     ::.) Normal examination.       2) Ne acute
  intracranial    abnormality.           3)    No    abnormal intracranial
  enhancement.     (Gibson Michelle #3 Medical Records:            116-117,
   124 125)

  10/28/2016    Laboratory Report from LabCorp San Diego.     The
  laboratory report was revealed unremarkab le result.  {Gi bson,
  Michelle #2 Medical Records.pdf:294-29 6}

   11/01/2016 ·· Office Visit by Julian P. Lichterr MD.         SUBJECTIVE:
  Patient     still      with dry cough.     Dyspnea  on exertion upstairs.
  Side effects        f:corn medications.   Exhausted a.nd fatigued. Chills
  and night sweats.       Mouth is dry.    Taking Al eve.    OBJECTIVE:
  Blood pressure is 136/90 mmHg.     Terr1perature:  98.7.  Hear: Rate:
  86.  He weighed -:_ 24 pounds.  BMI:  19. 42 kg. m2.  ASSESSMENT:  1)
  Dyspnea on exertion.         2}  Aspergillus.      3)  Encounter for
  preventive health examination.         4) Esophageal reflux.       5)
  Exercise·-induc:ed asthma.    6) Fatig:1e.    7) Gluten i n tol erance.
  8) Mold exposure.     9) Multip le pulmonary nodules.    10) Nocardia
  infection.    PLAN:  Repeat chest x -ray to fo l low :ingula opacity.
  Continue antimicrobials. Will see Dr. Crum on 10/0316. Need to
  discuss the rcle of steroids in this process.        Got back results
  of galactoma and D beta glucan.         (Gibson Michel le #3 Medical
  Records;    85-89, 164-169, 239-244, 344-349)

  11/0i/2.016 - Cli.nical Summary Report by Naomi Grady, M.D.            The
  patient had aspergillus,          chro ni c cough,    cough,   dyspnea on
  exertion, esophageal reflux, exercised-induced asthma , fati(Jue,
  gluten in-:.o1erancE", , mo.ld exposure, multiple pulmonary nodules,
  nocardia infection, shortness o~ breath, and unexplaine d weighed
  loss.   SURGICAL HISTORY:      She had history of biopsy skin, breast
  surgery cosmetic procedures,           and tuba l    ligation.     CURRENT
  MEDICATIONS:      Srie    was    on  Adva.ir   disk:us   250-50   Meg/dose
  inhalation aerosol p owder breath activated, amitriptyl ~ne HCl 10
  mg oral :.ablet , Flovent HFA 220 rncg/act inhalation ae r osol,
  ProAir respiclick 1 08        (90 base) mcg/ac t inhalation aerosol



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.212 Page 50 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 21

  powder breath activated, Sulfarnethoxazole-trimethoprim BOO-160
  mg oral tablet , Voriconazole 200 mg oral tablet. ALLERGIES AND
  ADVERSE REACTIONS:   She has aller g ies t o codeine derivatives,
  Tylenol.   PHYSICAL EXAMINATION:   Her. blood pressure was 136/90
  mm.Hg and weighed 124 pounds.  PLAN:    She was to repeat chest x ·
  ra.y  to follow .l ingula opacity,    and she was     to continue
  antimicrobials.  She would see Dr. Crum on 10/03/2016.                 (Gibson,
  Michelle #2 Medical Records.pdf:244-252)

  11/01/2016 - X-ray of Chest by Andrew Malcolm, MD at Imaging
  Heal th care Specialists.     INDICATION:   Acute onset cough three
  weeks ago.       History of exposure of mold.          On antifungal
  treatment.        IMPRESSION:       Essentially   resolved  lingular
  pneumonia.     No acute findings.       (Gibson Miche118 #3 Medical
  Records:    213, 288, 393)

  1 "/23/2016 ·· Office Visit by Julian P. Lichter, MD.                 SUBJECTIVE:
  Patient complains of exposure to mold in wor~place.                   Abnormal CT
  of      ches ·c.   with     t r ee-in - bud    opaci t ies.         Questionable
  hypersensi ti vi ty pneumoni tis .         Aspergillus and Noca rdia growi ng
  in    st>uturn.      OBJECT IVE:         Blood pressure       is   12 6/ 80 wmHg.
  Temperature :        99.   Heart Rate:         90.    He weighed 120 pounds.
  ASSESSMENT:         1)   Dyspnea on exertion .           2 ) Aspergill us .    3)
  Encounter for p reventive health examination.                    4) Esophage a l
  refl:ux.       5)  Exercise--induced asthma .        6)    Fatigue.     7) Gluten
  intolerance.        8) Mold exposure.        9) Multiple pulmonary nodules.
  10) Nocardia infection.             PLAN :     Startt?d on vol'.' iconazole and
  Bae trim by Dr. Crum.            BD g·lucan and gal act omannan have been
  tepea t ed .      Using ant i histami ne.       LFTs checked by Dr . Crum.
  Continue antimicrobials.           At some point will repeat CT o~ chest
  to evaluate progress.           (Gibson Michelle #3 Medi c al Records;        91-
  94 , 158- 163 , 233 - 238 , 338-343)

  11/23/20 16        Clinical Summary Report by Anthony Ladagana, MA.
  The patient had aspergillus, chronic c ough , cough, dyspnea on
  exertion , esophageal r e flu x, exercised:-i n duced astr,ma, fatigue ,
  gluten i n :.o le rance , mold e x posure , multiple pulmonary nodu les,
  nocardia infection, shortness o~ breath , and u n explaine d weighed
  loss.     CURRENT HEALTH ISSUES:           She had aspergill us, chronic
  coughed,    dyspnea o n exertion ,       esophageal r eflux ,  exerc i sed-
  induced asthma,        catigue, gluten i n to:erance , mo ld exposu re ,
  multiple pulmonary nodules, nocardia infection, shortness 0£
  breat h ,   and unexplained weighed l oss.         SURGICAL HISTORY:         She



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.213 Page 51 of 96




  RE:  Miche.lle Gibson
  DOE: August 24, 2017
  Page 22

  had history of biopsy skin, breast surgery cosmetic procedures,
  history o:: tubal ligation.       CURRENT MED ICATIONS:      She was on
  Advair diskus 250-50 Meg/dose inha.:...ation aerosol powder breath
  f.lctivatedt amitriptyline HCl 10 mg oral tablett Flovent HFA 220
  Meg/Act inhalation aerosol,       ProAir respicl.:..ck 1 0 8   (9 0 base )
  mcg/act     inhalation    aerosol        powder     breath    act iva t ed ,
  Sulfamethoxazole-trimethoprim       800-160      mg   o ral   tablet
  Voriconazole 200 mg oral tablet, Voriconazole 50 mg o ral tablet.
  PHYSICAL EXANINATION:      Her blood pressure was 126/80 mmHg and
  weighed 120 pounds.     PLAN:   She was to continue antimicrobial s.
  She was started Voriconazole and Bac trim prescribed by Dr . Crum
  with some .improvement in coughed.       (G.i.bson, Michelle #2 Medical
  RecordsTpdf:256-264)

  11/25/20~6    Laboratori es from Scripps Medical Laboratories ,
  Clinic.   Negative Aspergillus galactomannan antigen . (Gibson
  Michelle #3 Medical Records:  113)

  12/09/2016         Worker's Compensati.on Claim Form.   The claimant
  s ustained an _n j ury in Oc tober- 11/ 15 while employed for Client
  Solution Archi te e ts; she had multiple respiratory L-1fection ..c.n
  03/2016 and was sent f or CT scan for ::.he       lungs which showed
  pulmonary         disease .     (Gi bso n,   Michelle   #2   Medical
  Records . p df ; 633)

  Deposition of Michell e Gibson taken on 12/29 /2016 :
  Pagel & 2      Th is was a call with the :njured worker to discuss
  circumstances concerning the cla.i.m for worker ' s compensation
  benefits for a cumulative injury that occurred ending on or
  about 10./15/2015.
  Page 3     The applicant was employed with CSA, Cli ent Solution
  Architects located in San Diego . She supported the clients at
  the base and SPA.WAR, Space Nava l Warfare Systems Command.
  Pag e 4      She s t a rt ed working there on 04/29/2013 and by
  09/11/201 3 some of them were havimJ side effects or residual
  effects at work . They had symptoms like blurry eyes, congestion,
  headaches, vertigo and rapid heart rate . Whe n the workers
  started t alking to each o t her -:hey realized th a ::. they were a11
  going through the s ame       thing.  She fel~ her symptoms were
  residual effects +'"rom her car accident cl year ago. When the new
  furniture in t he office was tested i-t was found that           t had
                                                                      O


  unacceptable leve ls of aldehyde in off ice and the off ice space




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.214 Page 52 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 23

  was unacceptable for hurna.ns. An industrial hygienist was called
  in and they were moved.
  Page .:J   The chemical aldehyde was commonly found in adhesives
  in carpeting, insulation, furniture and new construction. CSA
  and supporting 5.0 had remodeled spaces and they moved in March
  2013. They were feeling residual effects and it was found to be
  the carpet. The office space where the aldehyde was present was
  attacked    hypoallergenically.  'l'he company  removed  all   the
  furniture, stripped all the f l oors and removed the carpet to
  test the air.
  Page 6    The air in office was tested agai n after remode:ing and
  temporary furniture was brought before they were asked to move
  back in . SPAWAR was a very big campus and they were moved
  scattered across SPAWAR campus and moved to OT, OT3 second deck
  and building 28.
  Page 10    They were first moved on 09/18/2013 and were back into
  office on 10/21/2013. The air quality irvas t ested with the new
  furniture or temporary furniture and so ·..;hey were moved in
  ag·ain.
  Page 11 - They were again moved out because new furniture was
  brought in for the spaces which were ~eft ou~ gassing in ~he bay
  for coup_e of weeks so that no :Purnes were released inside the
  office. After that the air was :.:.ested with an empty office, with
  the new furniture and with t he employees in the office. During
  that time there were rainstorms. They had severe hea.t where the
  air conditioning condensations were built and ~hey were flooded .
  Page 12 -The applicant said when they were ~irst made aware chat
  they were exposed to TCE , she had her blood tested for TCE and
  it was normal. She had four upper-respiratory infections since
  November 2015; her doctor ran a complete blood pane~ and
  referred her for CT scan.         She informed her director of
  operations about the blood tests and she also was checked for
  mold, aldehyde a nd fiberglass. In March 2016 , she s p oke to her
  doctor and was told that the p r o blem she had was work issue and
  she should go through Workman's Comp. Her blood reports showed a
  slight decline in Vitamin D. She had her CT scan on 12/28/2016,
  which was positive for infecti on and fluid in her lungs . She was
  referred to a pulmonary specialist and she was asked to have a
  bronchial biopsy .
  Page 13    She ha d an email was dated 03/18/2016 . The director of
  operations as ked them every day how they were feel ing . She
  informed him the CT results and he told the applicant to Google
  BOOP , bronchioli.ti.s obliterans o r ganizing pneumonia also known



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.215 Page 53 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 24

  as cryptogenic organizing pneumonia. It was a noninfectious
  disease but could be caused by toxic fumes. The third question
  in the email was "What was the government doing to address the
  isr,mes?"   sh.e   replied   that   an ong-oing e::fort for quite
                                      it   was
  some time. Director of operations, chief of staff, and the
  facilities had made the following changes to the spaces: removed
  all new furniture, moulding that had an aldehyde baseI repainted
  and removed front entrance ~o the office tha~ was decorated with
  driftwood and was emitting off gasses; removed all furniture and
  carpet from M1.. Shaffer's office and replaced with hypogenic
   flooring   and metal    furniture,      cleaning crew were   instructed to
  clean of fict~ with water only.
  Page ·5       The water ma i n broke and there were problems with the
  air cortditioning unit and condensation built-up because of
  c::irculc;tting air.
  l?age 16 ,. On 09/03/2014 the wate:r main ruptured and created a
  huge sinkhole. Mr. Spencer's office was completely flooded,
  where the mold was found into the admiral 's office, all the way
  in a ~all, hallway and all three offices o n the chief staff side
  s epa rated by glass doors . On 09 / 10/2014 the employees were
  notified about the TCE and the hazard i~ could be . They removed
  all pregnant woman and woman of childbea r i ng age.
  Page 17       The aldehyde exposure was on 09/11/2013. They wer e not
  moved back to the ir spaces on 10/21/2013 . The TCE was in
  September 2014 and the memo regarding removi ng women and
  childbearing age and pregnant woman was i n 2014.
  Page 18        The applicant had an ernail from Kimberly Kesler who
  was the SES at SPAWAR Operati ons dat ed 09/10/2014. The email
  stated th at they were in process of relocating some ~~loyees in
  OT3 due to various facilities environment.a: concerns with the
  north end of ~he building. Their primary concern was to ensure
  safe wo rking environment for all SPAW.AR employees. The Ol d Town
  Complex was once a manufacturing plant . I t :ncluded use of
  chlorinated solvent at the north end of OT 3. As a result, there
  was TCE in the ground under the nor th end of the OT3 . NAVFAC
  Southwest had a mi~igation report in plac e for several years and
  had been reducing the levels of TCE i n the ground localized at
  the north end . In 2011 NAVFAC t ook several indoor quality air
  samples to determine if vapors had rµigrated into the building.
  All measur ements were below the EPA provisiona l            response
  threshold for TCE at that ~ime and far below the OSHA' s
  permissible e xp osure. Since 2011 NAVFAC had continued their
  mitigation to reduce TCE leve l s.



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.216 Page 54 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 25

  Page 19    The appl.icant worked ~_n t h e north end of the builclj_ng.
  They were imrLLediately moved within few days because one of the
  hotspots was c l ose to them. The applicant was moved to OT3, same
  building, second deck in the middle.
  Page 20     The applicant was an executive assistant to Mr. Greg
  Shaffer and was ~J. 0' s executive support, front liaison. An ything
  that came into SPAWAR 5. 0 office of the chief engineer came
  through her.
  Page 21 & 22     She had a timeline event fr om 1994 when t he navy
  inherited the Old Town Complex _ill t he 09/15/2014. From 2011 to
  2014 Phase Two, remedial investigations were conducted to refine
  under scanning and evaluate offsite areas as part of RITCE where
  it detected an air qua lity samplinq in the north end of OT 3.
  Results were below OSHA standards. Baseline human heal th risk
  indicab:1d ri,sk sufficient for remedy im9lementation. 20L3 pilot
  testing of remedy to reduce TCE conc entration in soil occurred
  with positive results. A record decision was prepared with the
  goal of ~mplementing at FY 15 ful: scale long- term remedial
  action to reduce TCE levels i n the ground even rurther.
  07/09/2014 EPA an internal memorandum to the project managers
  with guidance on addressing indoor air exposure to TCE, which
  included recommended response action :.eve.ls reqarding exposure
  to TCE . 07/7/2014,     SPAWAR all hand e - mail and attended an
  internal communication notify employ, employees of air quality
  testing coming up at the north end of OT3.         August   2014,   NAVFAC
  condbcted indoor air quality '::est for c hlorinated solvents in
  the OT3 to verify TCE level were below new EPA recommrmded
  response a ction level. 08/25/2014, SPAWAR al ::.. hand e-mail and
  interna l communicat ion notified employees of air quality testing
  at t he north end of OT3 . 09/08/2014, NAVFAC briefed to SPAWAR
  EPA' s response action ::.evels for exposure to TCE and how that
  related   to   the   2011  reading   versus    the   current     testing .
  09/09/2014, SFAWAR decided to relocate second employees at the
  north end of OT3 as a precautionary measure until tests were
  completed . 09/10/2014 , SPAWAR al::.. hand e-mail sent to notify
  employees    of    the   current   situation .    09/ 11 /2 014,   SPAWAR
  leadership requested and re ce i ved more detailed briefing fr om
  medical   and environmental health professionals             to increase
  understanding of TCC , vd th TCE remedial project and potential
  health concern. SPAWAR leadership held c1 town meeting with
  employees to discuss concern . On 09/15/2014 , S PAWAR co nducte d a
  second town hall meeting with a panel of experts ,                medical
  environmental occupational health wo r kers compensation.



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.217 Page 55 of 96




  RE:     Miche.lle Gibson
  DOE: August 24, 2017
  Page 26

  Page 23      The applicant moved back to her off ice in October
  2014. When she moved in the office, the process to clean up TCE
  was ongoing as it could not be done overnigh~. The applicant had
  reports ,")f soil v-apnr ex-:ractinn, an indoor air fact sheet
  bui2.ding and bui:::..cting index about the :ir.st and second phase.
  There was a map that showed where all the intrusions were from.
  She first had aldehyde, then TCE and then she was tested for
  fiberglass, mold. There were times when she looked down where
  her government EA would be sitting.
  Page 24.     It looked to her as ~f she was sitting in fumes
  because it looked like fog. They had tested high for high levels
  of humidity. There was a lot of information from the aldehyde,
  from being moved from the TCE, from the water main break. moving
  back to their spaces. Her boss she .supported was relocat ed. The
  applicant moved back to her normal office space in the north
  end.
  Page 25     She moved to her office space in north end in October
  2014.    At   present   she   as
                                 displaced from her space because of
  mold.    'I'he HVAC system installed was not big enough to circulate
  the air and so i t was like they were sitting i n a petridish. I f
  anybody had a cold everyone got it.
  Page 26     .:::n 2015 new HVAC was put up to address some of the
  circulation issue s      and the high levels of carbon dioxide
  concentrated in the conferen ce r oom .:.n 1913. While doing the
  HVAC the mo1-d in Mr. Spencer's office was f ound. The app licant
  believed that in 2013 only aldehyde and TCE were tested and i n
  2015 the mold were tested.
  Page 27    As referred earlier in t he deposition abou t the !og in
  2013 and the condensation i n 2014 it had bee n muggy whole ~ ime
  in the spaces. The new HVAC was installed during the holidays
  because it was during the holidays they had ~o work over s paces .
  She went hop skip away from her d esk when the cleaning was done
  in her area . When s h e wa s in front and the collaboration a r ea is
  .i.n the back and when the c able was pulled a 11 kinds of d u st,
  debris, r at £eces 1 pigeon feathers used to be up the re. The
  building was from 1932. They put up a new HVAC whe n they
  realized that the system had a d esign f law within t he bui l d i ng.
  Pa9e 28     The HVAC system was r e pl a ced because the cir culat ion
  was not sufficient and they found a design flaw and also f o und a
  mold.
  Page 29     F'rom 201 3 till 2016 after t he new HVAC was instal le d
  which was .:.nsufficient and when i t wa s h ot, it was h ot and
  muggy. In winters she had to wear a scar f , snow boots and g l oves



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.218 Page 56 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 27

  without   fingers so that she could type.      The applicant had
  started making a daily log.
  Page 30     The applicant was moved by admiral all the way to OT4
  and the gc>vernment EA all the way to OT4. Mr. Shaffer and Mr.
  Marsh were already moved up t o ~he second deck in 0'1'3 as well as
  ~TennL:er Sandoval, Mr. Marsh's E.A. The applicant's counterpart
  government person, was on leave so did not impact her adversely
  and when she returned she was moved to the spaces where the
  applicant was. The applicant was the :ast pe rs on to be moved out
  of 5. 0 because she needed a phone line. She was mov ed 3 days
  after everybody else connected with her dir op. 'fhey were 1
  block away from the applicanc in t he middle. She was not in the
  5.0 spaces when they were doing all the eradication of mold. She
  was rtot in the front office but was in the chief of staff area .
  In November to December 2015, the chief of staff sent out a
  spreadsheet    asking   for   symptoms   like   watery   eyes,   dry   eyes,
  burning eyes, pressure in eye , blurry vision, and pressure in
  foreheadj    sinus pressure, runny nose, sore throat, head and
  chest conq-estion, fatigue, eczema. Every singl e one was marked
  with exception of pressure in het forehead.
  Page 3 1     On :)2/01/2016, at 6:20 the applicant sat down at her
  desk and she was .Cine, by 8: 00 she had d dry sore throat. Her
  sound b ecame gruff and by the end of the day, her voice was
  completely gone . By 3 : ~9 she had sinus pressure, a headache and
  heavy chest. On 02/02/2016, at 6 :28 in the mo rning everything
  was clear . 7 : 2 9 she had dry e yes I skin. 9: 04 she had sinus
  pressure, headache, heavy chest. At 3:00 she was congested,
  snotty. On 02/03/2J16, 6:33 she had a sl i ght headache. 7:40 she
  had dry th roat . 9: 40 a sore throat and 1 4 00 sinus pressure,
  headache and heavy chest. When she came in morning she felt
  good. She felt better ove rnight and when she came in the next
  day same things happen .
  Page 32       She went to Rite Aid pharmacy and they pulled her
  history as far as what she had been treated for. And all of them
  were either fer a urinary tract infection and most of them were
  for amitriptyline whi ch was the med~cation she took for her head
  injury she sustained . When the applicant first went she talked
  about having difficulty breathing due to her exercise-:..nduced
  asthma on 06/12/2014 and v,;-as put on Flovent HFA 22 ,      20 mcg·
  inhaler. On 09/04/2014 she was prescribed a cream because she
  had a rash . In December 2014 i t was all over her back and then
  it star t ed to radiat e towards her front . She saw a dermatologist
  on 02/05/2015 because the rash came and went.



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.219 Page 57 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 28

  Page   33    The dermatologist.    said   that
                                               it was either cnemical
  exposure or eczema. They took a piece of her body and tested it
  and i~ came back as eczema. on 0!/01 / 2015, her doctor prescribed
  her promethazine/codeine syrup for cough. 6 n 12/17 / 2015, she was
  again given promethazine/codeine syrup. On 02/10/2016 she was
  given erythromycin 250mg tablet. She had 3 antibiot ics by March
  2016. She told her doctor,          Dr. Judy McLaughlin about the
  exposures and the mold. Dr. McLaughlin asked h er to go for a CT
  scan.
  Page 3 4       On 04/01/2016 she went for the first time t.o her
  pulmonary specialist for a complete blood count panel. 'I'he CT
  scan was done without intravenous contrast material. The
  findings were densely calcified 4-millimeter granuloma i n the
  posterior basal segment of lower left lobe unchanged. She knew
  about this in 2012 and was not malignant . The findings further
  stated centrilobular nodules and tree-in b ud opa.ci t i es 1 and 3
  mm in the interior Zero inferior left upper lobe and ::.ingual
  were increased with a component of brown black opacity.
  Page 35 & 36        Centri.lobular nodules the latter interior and
  late ra l   basal segment of t he left :ower lobe we r e little
  changed. Tree-in-bud central nodules in the la.test segment of
  the middle lobe li ttle changed. Central brown-black nodule ::..n
  the lateral right upper 1obe axillar'y sub segment was new. The
  doctor treated her by removing her from her space and she felt
  better instantly. At present she had heav y chest, crazy nagging
  cobgh but no headache and no sinus pressure. The docto r put her
  on Adva ir disk, 250 wh ich was an albuterol steroid. It was long
  lasting and expanded and reduced infJ. arnmaticm. The steroid was
  prednisone- based. She took F'lcv ent 2 puffs at night, so she
  could breathe through the night. She had ProAir that put her to
  ease. The doc tor wanted her to be more aware of her surrounding s
  and see how she fe lt a= wo r k and home . He wanted her to try and
  increase her exercise and activity level. She used to go to gym
  e v er y day and kickboxing e v ery Saturday and at present she was
  not able to keep up with 5 and 6 year old grandsons train them
  for a sport and race or have social life with fr iends . She had
  another CT scan after 4 months and the damage had been done and
  it had gr:::iwn. She was told she wou ld be treated for t he mol d.
  The d octor told her 4 things; first that they would stop doing
  what they were doing because i t was net wcrking. Second thing
  was t ha t the docto r wanted to put her on predni s one, on a
  steroid at 400 to 800mg a day and the side effects were
  atrociou s. Thi r d thing was that the applicant neede d to have a



                                                                        USA53
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.220 Page 58 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 29

  bronchial biopsy and the fourt h one was to put t h e a ppli c a n t i n
  the h o spi t al and take a substantial biopsy a£ he r l ung s t o s ee
  what they were looking a t . The applicant went f o r t he third
  option and her biopsy wa s done.
  Page 3 7       When t he biopsy resul t s came i n t he doc t or to ld t he
  appli~ant that if he had not known about the env i r otimental
  exposure      he   would   have     thou g ht     that     the  app l i c ant had
  microbiolcgical b i late:::-al c::oncocus called Ml-~C. I t wa s a i u rig
  disease that people do not die from bu:. t he y do die with . He r
  blood tested positive only for the mold s he wa s exposed to. Dr.
  Lichter wa$ her pulmonary specialist. She had a CT scan on
  Monday, 01/02 / 2017 and had t o see br. Li chter on Tuesday at
  4: 30. On 01/04/2017 she was goi.ng to see Dr . Nancy Crum b e cause
  of the t ype of mold tha t was growi ng. The mo l ds we re identified
  as Aspe rg.il..l us t erreus, A..spe rg.i.1.1. us vers.i.color and llspergi LLus
  ustus.
  Page 38          She als o a b a cteria No cardia as con fir:med in h e r
  biopsy.
  Page 4 0         Asperg.il.lus us tus was path oge n ic and looke d f o r a
  host . Th e applicant said she wa s only 52 and was very active but
  she b eliev e d t hat b e c au se o f t he aldehyde and TCE she became a
  sus ceptibl e h ost. Al dehyde and TCE we r e n ot ca u sing any i •.lness
  the mold wa s r esponsible for the illness. Her lungs were clear
  in 2 0 12 other than the calcified tumor.
  Page 4 1         [3he s t at ed a b out t he a l d e h y de and TCE b e c t1i;;.s e s h e
  wan t ed t o show a ba s eline o f all things s he was expo s e d to. Her
  c la im was f o r her l ung s that were due to the molds a n d bacter ia.
  Page 4 2          The treatme nt would not change her immune system
  because the damage was don e . A:- the age o f 52 she had to take
  pre c au t i ons t hat     an elderl y pe rson would t a ke . A fl u and
  pneumon i a s h ot e v ery year. She could net be around s i ck people
  because she instantly got it . Sha got cold because her g randson
  had cold . Her daughter gave h er a kiss and nex t morning she was
  down for 4 da y s and it turned into p neumonia . The sulfate
  a n tibiot i c she too k for the bacteri a Nocard ia was strong enough
  a nd i ~ knocked the pneumonia out. The doctors were hav ing a hard
  time getti n g her l evels to where they needed to be . They
  mon i t ored her       li v er ,   pancreas,     heart ,     kidneys .  She        t oo k
  vor i cona zcle wh i ch was the strongest ant i funga l. Database showed
  from 83 people o n vcriconazole only 55 of them lived. She
  started with 1 00 mg a day and at p r ese n t she took 800 mg a day .
  Page 43         It took time to ge t _nto the system. She had a hard
  time shoppi ng i n t he holida ys . She ~ou l d not g o to the gym. She



                                                                                       USA54
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.221 Page 59 of 96




  RE:      Michelle Gibson
  DOE: August 24, 2017
  Page 30

  could not hike up mountains or run 5k every month 1ke she used
  to, could not go kickboxing and had no strength t o keep up to
  her 5 and 6 years old grandsons. She had a head injury in a car
  accident.
  Page 44   The accident happened on 04/27/2017 .
  Page 45    Her car accident happened on her way home from work
  from SPAWAR. She .saw an orthopedic surgeon rega rdi ng her neck
  and left arm. 'Ehe orthopedic surgeon referred her to Dr. Lich
  who was her neurologist. She last saw him in 2013. She was on
  arnitriptyline for vertigo.
  Page 46   She was on amitriptyline twice a day s~nce 07/19/2013.
  She worked o!'l SPAWAR :or a company called Booz l\llen Hamilton
  from 03/29/2010 through March 2013. She was out of work from
  April until October 2013 for her hea_d injury.    She worked in OTl
  building and while she was there s he was diagnosed with
  exercise-induced asthma.
  Page 4 7   At SPAWAR when she crossed a bridge to reach a wet
  parking lot she noticed she star~ed gett in g winded and the
  doctors   diagnosed    her    with exercise-induced     asthma    and
  prescribed her Flovent and ProAir in case of emergency. She was
  diagnosed with asthma in 2010.
  Page 48     In 2010-20 1 1 she was in OTl working for SP.AWAR 6.0
  until 04/27/2012 of her car accident . When she came b2.ck she
  went to OT4 and worked there for PMW760 till March 2013 in the
  role _hat she was at present. PMW7 6G had no p l ace for her a n d so
  she got the job at Client Solution Architects . She walked in the
  door of SPAWAR OT3 1900 , and her seat was 10A on 04 /2 9/2013. Th e
  treatment for exercise induced asthma was t o t ake Flove nt when
  she exercised.
  Page 49    she had left arm atrophy because of her accident and
  had a residual neck injury. Her neck was sometimes stiff and
  brittle.     When   she started working   in   5. 0   she had
                                                         just started
  work after the accident.      She ran her first 5k ln January 2014.
  She ran 5k every month.         (Gi bson Mi chel::..e #3 Medi cal Records:
   3-51)

  12/30/2016 - CT Chest wi thout Co ntras t by William Snyder , MD -
  Imaging Healthcare Specialists.       INDICATION:       Aspergillosis,
  unspecified.    Recurrent infections .     Previ ous mo l d exposure .
  Follow-up pulmonary nodules.     IMPRESSION :     1 ) There has been
  pronounced improvement in appearance of the lungs b i lateral l y.
  Multiple   areas   of   centrilobular    nodular      thicken i ng and
  peribronchial chan9es are improved, consistent with tmprovi.nq



                                                                         USA55
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.222 Page 60 of 96




  RE:        Michelle Gibson
  DOE: August 24, 2017
  Page 31

  underlying infectiou.s or inflammatory process.     2) Pers :Lstent
  hyperinflation of the ::..ungs.   (Gibson Michel l e #3 Medical
  Records: 108-109)

  12/30/2016      Laboratory from Scripps Medical Laboratories,
  Clinic.    High AST of 233, ALT of 213, and RDW of 17. 2.           Low
  hemoglobin of ~0.6, hematocrit of 34.7, MCV of 7 2 , MCH of 2 2 ,
  lymphocytes of 1.8 .2, absolute lympho cyte count of O. 78.     (Gibson
  Michelle #3 Medical Records: 11 0 -11 1)
  01/04/2017       Office   Vi sit  by   Nancy   Crum-C i anf lone,   MD.
  SUBJECTIVE:              Patient referred       from Dr.      Lenzkes/Dr.    Lichter   for
  1\sperg.i.l.lus and Nocardia found on a recen t bro·nchoscopy.     She
  reports multiple environmental exposur es at work and then in
  10/2015 began to develop URI symptoms and cough and night: sweat s
  and fatigue.         She also r e ports sinus pressure and sinus
  headaches.      She underwent br:onchoscopy on 09/02/16; on pathol ogy
  showing Aspergillus and tl:ree species grew on culture.          More
  recent.:'..y;    the sample is        also p:::>sitive       for   Nocardia species    and
  sensitivities   pending.       In early October, she was begun on
  itraconazole and then changed t o posaconazole 200 mg , wh ic h she
  to lerated poorly.     Felt n ausea and with "flu " l i ke s ymp toms.
  Also wit h poor t a ste / meta ll ic s e nsat ion . In October, b e gan o n
  v oricona zole and Septra for the org anisms isolated.              Today,
  overall imp rovement , with minimal cough and n i ght sweats .       Still
  with       inso:nn i a    and   f atigue   as   main    comp laint s.       Still   c annot
  fully exert hersel:.    ASSESSMENT:     l-\.spergil l us, Nocardi a .  PLAL'-l":
  Obtained galactomannan a nd B gl.uca n levels, which were nor mal.
  Checked CT o      sinuses and head to excl ude other areas of
  infection, which were ne g a t ive .  Bega n voricona zole 2 00 mg wi t h
  planned trough level in 7 ~o 10 days ; given low l e ve l a nd
  increased to 250 mg a nd increased again to 300 mg and then 400
  mg given still low levels .          Patient met wi th p h armacist on
  dosi n g . Await f/u on leve1 , then readjust as needed .           Cont i nue
  Septra DS and monitor Cr , I< levels .         May n eed IV therapy with
  imipenem o r other agents depending on findings of i maging .              F/ u
  chest CT scan improved.       Mont hly CBC , CMP.         F/u voriconazole
  levels.     F/u in three weeks .         (Gibso n Michelle #3 Medical
  Records: 105 - 107 )

  01./04/2017     I nfectious Diseases Consultant Note b y Nan c y Cr um-
  Ci anflon e, M. D.   SUBJECTIVE:  'The patient was refe rr ed from Dr .
  Lenzkes/Dr . Licht er for aspergillus and Nocardi a t ha= was f oun d
  on     a     re cent      bronchoscopy.         Sh e   had    multiple      environmental



                                                                                          USA56
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.223 Page 61 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 32

  exposures at work and then in 1:J/2015 she began developing upper
  respiratory infection sympto~s a nd cough ,                 night sweats and
  ::atigue .   She also reported sinus pressure and s i nus headaches.
  She underwent bronchoscopy on 09/02/2016 on pathology showed
  aspergillus , and three species grew on cult ure.                'l'here was more
  recently the sample was also positive for. NQcardia, species and
  sensitive      pending.        In   eaL. y   October     she was begun on
  voriconazcle and then changed to posaconazole 200 mg oral ly
  which she tolerated poor l y.         She felt n ausea and with '~flu" like
  symptoms.        She also had poor taste / metallic sensation.                   In
  1 0/20,    began on voriconazole and Septra ~or the                       organism
  isolated.       She had overall improvement with mi nimal cough and
  night sweats.        There was no chest pain, no fever / chills.                She
  was s~ill with insomnia and fatigue as main complained.                    She was
  sti ll not ful ly ~1xerting herself.           ME DICAL HISTORY:           She had
  hi.story of head trauma, reflex anal dilatation right axis
  deviation      reactive    airway      disease    radiation      absorbed      dose
  reactive     attachment      disorder.       MEDICATIONS;            She   was   on
  antibiotic, Voriconazo1e 250 mg orally, and Septra.                      REVIEW OF
  SYSTEM:       She was positive for chills/fevers , nigh~ sweats,
  cough ,     dysphagia/odynophagia ,        pain ,    constipation,         nausea,
  vom.i ting, diarrhea, blood stool, dysuria , blood urine, dizzy and
  numbness/tingling , for sinus pa ~n rush.            She weighed 118 pounds.
  DIAGNOSIS :       Aspergillus , Nocardi<3. .      PLAN :     St e had obta i ned
  galactomannan and b glucan levels which were normal.                       She was
  checked for CT of sinuses a nd head to exclude other areas of
  infection which were negative.            She began using v oriconazole 200
  mg orally twice a day with planned ':roug·h leve l in seven to 10
  days; gi ven low level and increased to 2 50 mg orally twice a day
  and increased again t o 300 mg orally twice a day and then 400 mg
  twice a day given sti11 101.>i·. levels.                 S.he was to reduce
  v o riconazole to 350 mg orally twice a day.                 She was to avoid
  ethanol.       She was wa r ned of possible side effects inc l udi ng
  visual 1 ssues/CNS issues .         I f she could not toJ.erate then s h e
  would need to try Cresemba.            She was to continue Septra DS one
  tablet orally twice a day and monitor Cr, po~assium l evels .                   She
  might need intravenous the rapy with imipenem or o ther age n ts
  depending on findings .           She was to .i:::J' low up chest CT scan
  improved.      (Gi bson, Mi chelle #2 Medical Records .pdf: 268 - 272)

  04/09/2017         Medical Report   from   Unknown Source .        DOI:
  10/15/2015 .     HISTORY OF INJURY:   The patient b e gan wo r king for
  the office      of the chie f engineer on 04/29/2013; six months



                                                                                 USA57
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.224 Page 62 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 33

  later, she was moved ~o r the first time for aldehyde positioning
  since the date she had moved 15 tirnes due to environmental
  exposer to the following chemicals and organ vapor pat~'1ogens,
  aldehyde, fiber glass, mold, high levels of carbon dioxide.        She
  had several pulmonary problefus.       In 10/2015, she had first many
  upper respiratory .i.n.r.ect.i.ous by 03/2016.   She had four to five
  back-to-back infections that could not be occurred.            CURRENT
  SYMPTOMS:      She complained lack of lung capacity I shortness of
  breath, and side effects from medication.          His conditioned had
  worsened the antifungal vericonosal was very toxic he-r liver
  could no~ handle it took three to four days to hit her and when
  it did was removed from down vericonosol and placed her on a
  different anti-fungal in her arm once d day might increase.        JOB
  DESCRIPTION:       She was executive support.    She injured her while
  she was working on a computer all day, answer phones , files
  create red time documents. She was previously employed for: Boaz
  Allen Hamilton from 03/29/2010-2013 as an executive assistant
  and in Buchananon Ingersol 3 from 1999 to 2008 as an executive
  assist.ant to manager share holder.         OFF WORK ACTIVITIES:   She
  used o be extremely act ive due to in f ect ion in her lungs caused
  by ~he exposures at work.              (Gibson,  Michelle #2 Medical
  Records .pdf : 2 -3 2)

  PHYSICAL EXAMINATION

  BLOOD PRESSURE: 118/76

  PULSE: 94

  RESPIRATIONS: 16

  WEIGHT:     12 0 lbs.

  HEIGHT: 67 1n.

  BMI:   19

  HEENT: Normocephalic,        at r aumat ic.   Th e f undi are benig-n , wi thout
  hemorrhages     or   e:;rndates .   The   pharynx   is   clear,   and   tympani c
  membranes are normal. Mild na.sa.l edema bilaterally.




                                                                                USA58
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.225 Page 63 of 96




  .RE:    Michelle Gibson
  DOE~ August 24, 2017
  Page 34

  NECK! .Supple and without jugulo-venous distension. The carotids
  are  2+ bilaterally.     There are no masses.       There is no
  thyromegaly.

  NODES: There 's no :.ymphadenopathy noted.

  CHEST: Percussion note 1s normal,           with normal diaphragmatic
  motion.   There are coarse breath          sotinds with no rales, no
  ronchi; but there is mid- to end-expiratory wheezing.

  HEART! The PMI is at the 5t1, left :l.ntercostal space, at the rnld-
  clavicular line.  There are no heaves or thrusts. The Sl and S2
  are normal. No murmurs or rubs are heard.

  ABDOMEN:  The abdomen is soft, non~tender, and non-di stended.
  There is no organomegaly.      There are no masses.     The bowel
  sounds are normal.  There is no pelvic area tenderness.

  EXTREMITIES; There is no cyanosis, no clubbing, or edema.

  NEUROLOGIC: There are no foca l    neu ro l ogic findings.

  LABORATORY DATA

  Diagnostic testing was performed at West Coast Cardiopulmonary
  Laboratory.  All tests results are included in the body of this
  report; the actual data and billing will be sent under separate
  cover,

  A complete blood count was obtained.          The hemoglobin and
  hematocrit are normal.    White blood cell count is within normal
  limits.   White cell i ndices are completely normal. The p l ate l et
  count 1.s normal . The differential count is normal.

  A chemistry 7 panel was obtaineo.         Serum elec trolytes are
  normal.   The BUN is 19.    Creatinine is O. 79 '¼'hich .;.S :1.ormal.
  Glucose is 95 which 1s within normal !.imits.

  A complete chemistry profile was obtained.     The cholesterol is
  199 .  The triglycerides a.re 66 which are normal.  The remainder
  o f the chemistry profile, including liver f unction studi es, is
  normal except for a mild elevation in the ALT to 48 (within
  upper limits of normal of 32).    An immunoglobulin E level is 1.



                                                                        USA59
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.226 Page 64 of 96




  RE:        Michelle Gibson
  DOE: August 24, 2017
  Page 35

  This is within normal limits.

  A complete pulmonary f unction study was ordered on this patient
  but has not yet been obtained.

  DIAGNOSES

       1.       History     of exposure   to    high    levels of Aspergi llus           and
                Penicilliurn mold during the course of her employment at
                SPAWAR i.n San Diego during the course of employment at
                Client Solution Architects, LLC.

                Development  of   Aspe r gi: us pulmonary infection                      and
                colonization with involvement of both lungs.

       3.       Previous h_story of exercise-induced bronchospasm.

        4•      Possible       exacerbation        of       asthma         secondary      to
                bronchopulmonary Aspergillosis.

       5.       History of Nocardia        lung     _nfection,        currently    treated
                a.nd eliminated .

        6.      Sign~ficant  weight   loss          and     weakness        seco ndary    to
                chronic fungal infection.

       7.       Pulmonary restrictive disease 2econdary to c:ombi nat ion
                of bron chopulm-0nary Aspergillosis , Asperg ill us infect ion
                of the bronchial tubes, and bronchiectasis .

       8.       History of gluten intolerance.

        9.      Basal cell carcinoma of the skin .

       10.      History of recurrent urinary tract infect ions.

       11 .     History of back pain,          po ssib ly   related to pri or motor
                vehicle accident .

  IMPRESSIONS AND DISCUSSION

   I   have     had the     opportuni t:y to   i nt erv iew ,   t a ke    a history f rom,
  and        review   the   medical   records     as    well     as      examine Michelle




                                                                                         USA60
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.227 Page 65 of 96




  RE:    Miche.lle Gibson
  DOE: August 24, 2017
  Page 36

  Gibson in my role as a Panel Qualified Medical Evaluat.or j_n
  internal medicine and pulmonary disease.         This is a very
  interesting case of a patient who, as outlined in the h i ston,·,
  moved into a new job in a new facility in approximately 2013
  where she was exposed initi;;i.lly to fumes from ·volatile organic
  chemicals $uch as formaldehyde and trichloroethylene, and then,
  at a later time, to a water-damaged environment ::i.n which a
  significant amount of mold was discovered.

  1 have had the opportunity to review tbe mold counts that were
  obtained on the initial evaluation of her workspace by the
  industrial hygiene company in March of 2016.  At that part:.cular
  point in time, she had al ready been suffering from symptoms of
  cough and shortness of breath fo.r- a period of time, and it i.s
  apparent that a water intru$ion zorte ~ n one of the offices in
  the o·r3 building had 9,100 spores per cubic liter which was 50
  times the concentration t hat was found outdoors.       This was
  signi ' icantly above the permissible limits,   and i t  is not
  surprising that Ms. Gibson became colonized with this organism.

  In    addition    t he Aspergillus exposure, as I wi ll discuss
                   to
  below, she was obviously exposed. ~o other orga n isms which a re
  frequently seen in moist and damp water-damaged environments .

  Ms.    Gibson J.s a pa::ient who had a prior history of asthma.               This
  had  been diagnosed prior to              her   work   for      Client Solution
  Architects and was reasonably        well- c ontrolled        with rare use of
  any medical therapy.   She had         been diagnosed          but continued to
  live an active lifestyle with         rare use of a          r esc u e inhal e r in
  the past . After the discovery        of the mold in          her workplace and
  her referral. to Dr   IJi.c ht.er (
                          •            a puJ.monologist         whom I know well
  from San Diego, her wo r kup was undertaken,                 and   a   number   of
  pulmonary complications were discovered .

  The first abnormality was on d CT scc;l.n where multiple nodules
  were seen as well as areas of bronchiectasis _none or two areas
  of h e r lungs . '::'here was no history of any prior pulmonary
  infections, and it is wi th reasonable me dical probability that
  this    bronchiectasis occurred as a result o f her colonization
  with    AspergiJ.:_us of wh i ch, eventually, t h ree various species
  were isolated.        Her transbronchial biopsy and lavage, which was
  performed in     Se ptembe r   of 2016,    not only grew out Aspergill us
  but grew out Nocardia .



                                                                                  USA61
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.228 Page 66 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 37


  1 have not yet. received new pulmonary function studies on this
  patient:, b ut I do have a number o: pulmonary function studies
  and spirometries that have been done under the direction of Dr.
  Lichter.   Consistently on these tests, it was shown that she had
  a restrictive pattern with evidence also of obstructive disease.
  This 1s quite consistent. with the combination of 1.mderl.ying
  asthma as well as a patient who has developed bronchiectasis and
  Aspergillus colonization .

  In fact, the exposure to individuals to Aspergillus =an lead to
  a number of different disease states.      One of the more common
  presentations of Aspergillus is what is commonly referred to as
  "bronchopulmonary Aspergillosis" or BPA.       In this condition,
  individuals are colonized with Aspergil l us ~hich ?ives in their
  airways.     Although there is not a definitive infection or
  invasion of the parenchyma, the p resence of this Aspergi:::..lus
  orga_nism in the bronchi leads "'.:o an allergic reaction to the
  fung·us and an exacerbation of asthma.

  In a second form of Aspergillosis, ~he organism actually invades
  the tissue and could become disseminated.       This was not p resent
  in Ms. Gibson , and laboratory testing to a scer tai n tha t this was
  true was performed, and the beta-glucan .levels we re no rmal.     In
  patients with invasive Aspergillos.:..s, ·.::his laboratory test is
  almost always elevated,      and galactomannan levels are also
  frequently elevated.   Th ese te sts were run a~ Scripps Clinic and
  we re negative in Ms. Gibson .     Therefore , we can rule out the
  possibility that she had disseminated Aspergillus infection.

  Lastly , indiv iduals who have isolated cavities in -:heir l ungs
  can develop a colonization within that cavity with fungus ,
  frequently forming a rounded mass sometimes called a "fungus
  ball."   This is obviously not what was going on in Ms . Gibson.

  J have included a short abstract from the Afr i can Journal of
  Clinical     and   Experimental    Microbiology which  reviews   the
  spectrum of Aspergillosis from an article e ntitled "Spec trum of
  Aspergillosis:       Pathogenesis , risk factors, and management."
  This article is an excellent rno:ce recent review from 20 1 6 of the
  various forms of Aspergillosis infection, includi ng i nvas ive
  Aspergillcsis ,    chronic pulmonary Aspergillos is,  and allergic
  bronchopu l rnonary Aspe rgill osis.  This is the standard approach



                                                                        USA62
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.229 Page 67 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 38

  to    individuals with Aspergillus type in fections but does not
  really fit the picture for Ms . Gibson.               Insteadr in an arti.cle
  ::rorn the journal t!_y_s:_9.patholo.9.:icl:,, December of 2 014, an art icle
  entitled "Fungal Cul t u r-e and Sen:si t iza tion in Asthma. t Cystic
  F'ibrosis, and Chronic Obstructive P ulmonary Disorder:   Wllat Does
  1t Te.II Us?" is a :Oettei~ review of someone like Ms. Gibson where
  i t is ·cecr>gnized that there is a. new effective standardization
  in understanding the various different pictures             in which
  individuals who were colonized with Aspergil l us can present.
  For example, fungal recovery from sputum in cyst'i.c fibrosis,
  asthma, and COPD can actually be as high as 40 to 50 percent.
  Not all of thes~ patients,          obviously, are suffer ing from
  signi~ i cant d i sease that requires tr eatment . It has been noted,
  however, that in individuals such as Ms . Gibson who did not have
  underlying chronic obstructive pu.1.monary disease, t he r e -S the
  development of reduction in lung fu n ction in almo s t all of these
  patients.

  1 go through :.he discussion in the above paragraphs because of
  the fact that we have a p atient who had no unde rlying "active"
  asthma.    Her as thma wa s rarely activ e but , with the deve l o p ment
  of her     fungal   in f ect i on, required trea tment with multip le
  bronchodilator·s .   :::urrently, she has weaned herself off some of
  those b r onchodilators but is still on bronchodilator and steroid
  therapy.    What is most noticeable a t this time is ~he f ac t that
  her spirornet ry d ata have shown restrictive disease , and her CT
  scans have shown the deve lopme nt of bronchiectasis.

   1 did r e view the literature for t h e    fr equency of the d evelopment
  of bronchiectasis in fungal disease and was able t o f i nd a
  number of a rt icles , o ne of which I have reproduced, in part , t o
  include with this report .        The paper c o mes from ~he seminar~ in
  respiratory      and critical      care medicine        from 201 5     a nd is
  e ntitled ,   " Fungi .in cy st_i_c .fibros_is and. non cystic f.ibrosis
  hronchiectasis ."      As outlined in this article, t he bronc h ial
  dilatation with loss of function that is t he definition of
  bronchiectasis can result fr om many inflammatory and infectio us
  injuries of t he airways .            Particularly,      filame ntous fungus
  Aspergillus is imp licated as a comrµon cause of bronchiectas:is i n
  both cystic fibrosis and non-cystic f i brosis b ron chiectasis.            In
  th is art i cle, the role of c h ro ni c co l on i zation wi t h ~he se fungal
  organisms has been shown to lead to a disruption i n the
  bronch ia l integri t y , and it · s my opini on, with a reasonable



                                                                            USA63
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.230 Page 68 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 39

  level    of   medical   probabi l ity,    t hat the  eti o l o g y of
  bronchiectasis in Ms.     Gibson is the infection with c hree
  different: strains of Aspergillus and the d e velopment o f :.:hroni c
  Aspergillus colonizatio n of her airwa y s.

  I t is noteworthy tha t this p atient aJ.so de vel oped a n i n f e c t. i on
  with a rather unusual organism known as Noc a r dia.                     In a n a rti cle
  in the journal Cureus :.n 2015, a :review of pu lmo na r y Nocardia
  infections       was    publ i shed,      showi n g     t ha t     thi s   Sap rophyti c
  organism, which is usually associ a ted with ski n infe cti on, c a n
  occur even          n   patients       who   are      not      immuno s uppressed      or
  debiJ.i t.ated.      The$e infections in immunocornpeten r_ indi vi. dual s
  are usually chr oni c and prese n t wi th n on - spe.c ific symp t oms , bu t.
  the main ~eature radiologically is the devel opment of p u lmona ry
  nodules.         Ve ry much. like         a  fungus,        t h is o r g a n i sm • s   a
  gram-positive baci lus but has b ranch ing fil ame nt f o rms th a t ar e
  not spore-forming but b ehave ve ry much l ike mo l d suc h as
  Aspergil lus.       The typica l f orma t i on of nod u l es can b e :-:;een in
  these infections , and t re a tment with a n t i bio ti c s i s us uall y
  fa i rly    effe ctive   in     e l i minating     t his     i n fection .       It    is
  reasonabl y me d icall y p robable that,               becaus e o f       her chron i c
  As p e rgi llu s infe ctio n , she b e c ame suscep tible to the i n f ect ion
  with Nocard ia which did present with mul tip l e pulmonary rtod u l es
  and was treated effectivel y .

  With regar d to c a us a t ion in t h is c ase , ~tis with a high degree
  of medical p r oba b i l ity, giv e n t h e environ mental report from the
  SPAWAR fac i lity where she worked , that the Aspe r g i llus organism
  a n d her Nocardia i n fect i o n deriv ed f rom that facility .    I t is my
  opini on t hat her t r e a t me nt h as b een succe s sfu l in eliminat ing
  t h e Nocardi a i nfe c t i o n, b ut she :s left wi th brcn chiecta tic
  damage to he r lung s a nd cont inued co l o nizati on wi t h Asper gi l lus.
  As d i sc u ss e d in th e art i cles t ha~ I have en c losed , chron i c
  Aspergillus infe ction s are usually ve ry d iffi cu l t to compl e t el y
  e r adicate, and i t may well be that a llergic bronchopulmonary
  Aspergillo s i s type symp toms wi.ll. pers i st in Ms . Gibson for a
  protracted period of time .          Wh at is mo st apparent , h owe v e r , i s
  t ha t, on s pirome t ry t est i ng on a number of occasions up t hrou g h
  t he end o f 2016, she c ont i nued to show re s t r ic t i ve c hanges with
  lung volume s reduced t o t.he 7 0 percent r ange and a continue d
  s i gn i =ican t decrease in bot h : a r ge and small a i rways flow r ates ,
  pa rticula r ly i n sma l l airways .




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.231 Page 69 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 40

  DISABILITY/IMPAIRMENT

   I   have   used Tables 5 9 and 5 : O    ~   n   the AMA Gu i.des as well as
  5···1? ::o come up with a discussion of her pulmonary impairment at
  this time.    Given the decrease in lung volumes and flow rates,
  it .is rny opinion that a C.1.ass 2 irnpair.rnent., according to these
  tables, 1s present with a 1 5 percent whole person impairment
  rating.    It is my opinion that, wi-:h her currem:. treatment and
  recent hospitalization and lavage, she has reached a poi nt of
  maxi.mum medical improvement for rati ng· purposes at t his time.

  CAUSATION AND APPORTIONMENT

  With    regard  to  the  pulmonary   impairment    and    pulmonary
  disa.bility, this is a function of two separate processes going
  on. As already stated, the cause of her infectious process with
  fungal disease (Aspergillosis) and her bacterial infect i on with
  Noca.rdia i s her employment at the SPAWAR facility when she
  worked for Client Solution Architects.     This c o l onization and
  development of bronchial problems rel a t ed to this infection
  occurred in a     patient   who had pre-existing asthma whi ch
  undoubtedly was worsened by this        fungal  colon ization with
  Aspergillus organisms .   However, wi th regard to the impairment
  menti oned above,   that   being   a   15  percent   whole   person
  impairment,     the majority of that imp airment is secondary to her
  lung restriction and not her asthmatic disease.            It   is ~y
  opinion that the development of bronchiectasis from her fungal
  infes tation is a signif icant factor contributing ~o her overall
  pulmonary disabil ~ty ,   and although there is a       h is t ory of
  pre-existing asthma , this was significantly worsened because of
  her colonization with Aspergillus.    Therefore , it is my opinion
  that 15 percent of the pu lmonary disability related to her
  impairment should be considered non -industri al and not related
  to her employment at Clie nt. Solution Archite.cts but as a result
  of pre - existing asthma .    The remaining 85 percent of the
  disability    asso ciated  with   her  re.strictive   disease      and
  bronchiectasis as well as allergic bronchopulmonary disease
  should be considered work-related .    The se factors have led to
  the     impairment    leve.i..   which   is      discussed   above .      The
  apportionment of     t he   disability related to that        is   85 oercent
  industrial.

  Periods of temporary total disability ex i sted for her periods of



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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.232 Page 70 of 96




  RE:    Michelle Gibson
  DOE: August 24, 2017
  Page 41

  being ou.t o.f ,vork dt1.e to her l1ospi.:.a.liza.tions a.nd        time off
  work ~or treatment of her lung infection with mold.

  RECOMMENDATIONS

  It is my recommendation that a period of temporary total
  disability from an ;.ndustrial standpoint should be awarded for
  all of the time that Ms.          Gibson missed work because of
  hospitalizations and treatment for her Aspergillus colonization
  and. infect.ion.   The permanent disabi~ 1 ty that is outlined above
  and    th(;; appcrtionment   warrants   that    her  treatment  with
  anti-~u~gal agents and bronchodilators as wel: as t reatme nt for
  any r ecurrent infections in these areas of bronchiectasis should
  b e provided for on an industrial basis.

  She should be provided a      yearly influenza vaccine on an
  industrial basis and be provided with follow up by a specialist
  in    pulmonar y   medicine   on   an   industrial   basis.   Because   of   the
  bronchiectasis   that  has   developed   in  this    patient,  the
  possibility exists for unusual in fections , and an i n fect ious
  disease   follow  up  should   be  provided when     necessary  in
  conjunction with her ~allow up by a pulmonologis t .

  Given her significant debilitation and weakness,        ~t :s my
  opinion ~hat a pulmonary rehabilitation program s h ould be
  provided for Ms. Gibson on an industrial basis.     Be.:ore such a
  pulmonary rehabilitation program, of which there is an excellent
  one at the University of Cali.fornia./San Di.ego on an outpatient
  basis, an exercise metabolic study wou ld be quite helpful in
  understanding her exercise limitations at this time and setting
  goals for a rehabilitation program.

  J appreciate -:he opportunity to eva.J.uate Ms . Gibson and trust
  that this report will be helpful in the management of her case.
  I f : ~an provide any further informati on regarding her condition
  or disability, please fe~l .. ree to contact me .


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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.233 Page 71 of 96




  RE:   Michelle Gibson
  DOE: August 24, 2017
  Page 42

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  Sincerely,




                 \,_)
  Stewart A. Lanky, M.D., ~.A.C.P.
  Califo rnia State License #G0 259 48

  Ericlosures


  "I   declare l1nder pena.l ty of perjury that t ..he informat.io11
  contained in this report and i ts attachments , it any, is t rue
  and correct to the best of my knowledge and belief , except as to
  informati.c-n that I have indicated I received from others .  As t o
  that information , I declare under penalty of perjury that the
  informa~icn accur a~ely describes the :nformation provided t o me
  and, except as noted herein, that I believe i t t o be true."

  " I have not violated Labor Code Section 1 39 . 3 , and the contents
  of the report and bill are true and correct to the bes t of my
  knowl e dge . This statement is made under penalty of perjury . "

  This is to certify that Stewart A. Lonky , M. D. performed the
  above evaluation and examination and that he p repared this
  r eport .

  Laboratory tests were p erformed by Allan Avnet ,       C .P. F .T.,
  R.C.P. , California State License RG3403 ; Phyllis Bacchus, x- ray
  technician, California.




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.234 Page 72 of 96




                              EXHIBIT 8




                                                                        USA68
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.235 Page 73 of 96




                                                                        USA69
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.236 Page 74 of 96




                                                                        USA70
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.237 Page 75 of 96




                              EXHIBIT 9




                                                                        USA71
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.238 Page 76 of 96




                                                                        USA72
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.239 Page 77 of 96




                                                                        USA73
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.240 Page 78 of 96




                                                                        USA74
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.241 Page 79 of 96




                                                                        USA75
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.242 Page 80 of 96




                                                                        USA76
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.243 Page 81 of 96




                                                                        USA77
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.244 Page 82 of 96




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.245 Page 83 of 96




                                                                        USA79
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.246 Page 84 of 96




                                                                        USA80
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.247 Page 85 of 96




                                                                        USA81
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.248 Page 86 of 96




                                                                        USA82
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.249 Page 87 of 96




                                                                        USA83
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.250 Page 88 of 96




                                                                        USA84
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.251 Page 89 of 96




                                                                        USA85
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.252 Page 90 of 96




                                                                        USA86
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.253 Page 91 of 96




                                                                        USA87
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.254 Page 92 of 96




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.255 Page 93 of 96




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Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.256 Page 94 of 96




                                                                        USA90
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.257 Page 95 of 96




                                                                        USA91
Case 3:19-cv-00123-MMA-MSB Document 25-4 Filed 01/15/20 PageID.258 Page 96 of 96




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